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13

14                     THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
15

16   WHITEWATER DRAW NATURAL
17   RESOURCE CONSERVATION
     DISTRICT, HEREFORD NATURAL
18
     RESOURCE CONSERVATION,
19   DISTRICT, ARIZONA ASSOCIATION
     OF CONSERVATION DISTRICTS,                  Case No.:   '16CV2583 L   BLM
20
     CALIFORNIANS FOR POPULATION
21   STABILIZATION, SCIENTISTS AND               COMPLAINT FOR
22
     ENVIRONMENTALISTS FOR                       DECLARATORY AND
     POPULATION STABILIZATION,                   INJUNCTIVE RELIEF
23   NEW MEXICO CATTLEGROWERS’
24   ASSOCIATION, GLEN COLTON,
     FLORIDIANS FOR SUSTAINABLE
25
     POPULATION, RALPH POPE
26

27
                         Plaintiffs,
     vs.
28

                                             1
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 1
     JEH JOHNSON, IN HIS OFFICIAL
     CAPACITY AS SECRETARY OF
 2   THE DEPARTMENT OF HOMELAND
 3   SECURITY, and THE DEPARTMENT
     OF HOMELAND SECURITY
 4

 5                        Defendants.
 6
     ____________________________________

 7
                                   Preliminary Statement
 8

 9         1.    This case addresses a class of discretionary actions taken by the
10
     Department of Homeland Security (“DHS”) and DHS Secretary Jeh Johnson
11

12
     (together, DHS and DHS Secretary are referred to as “DHS”). These myriad

13   actions concern the entry and settlement of multitudinous foreign nationals into
14
     the United States. Thirty-three of these actions are itemized and summarized in ¶
15

16   53 and attached hereto in Ex. 1. Like its predecessor agency, the Immigration and
17
     Naturalization Service (“INS”), DHS has turned a blind eye regarding the
18

19
     environmental impacts, including the cumulative impacts, of its actions
20   concerning foreign nationals who enter and settle into the United States pursuant
21
     to the agency’s discretionary actions. The resulting environmental impacts from
22

23   these actions are significant and an analysis of these impacts by DHS is required
24
     pursuant to the National Environmental Policy Act (“NEPA”), see 42 U.S.C. §
25

26   4331 et seq. (2016), and its implementing regulations. But DHS, like INS before
27

28

                                              2
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 1
     it, undertakes no such NEPA review. Accordingly, DHS is acting in contravention

 2   of its legal obligations.
 3

 4
            2.     The core purpose of NEPA is to ensure that, before a federal agency

 5   undertakes a federal action, its decision makers consider the range of potential
 6
     environmental impacts the action may have on the environment. NEPA embodies
 7

 8   the nation’s policy of ensuring that decisions affecting the human environment are
 9
     made with eyes wide open and in full view of the public so that all stakeholders
10

11   may understand the implications of federal actions on the natural resources that
12   we all depend on, in one way or another. NEPA “help[s] public officials make
13
     decisions that are based on understanding of environmental consequences, and
14

15   take actions that protect, restore, and enhance the environment.” 40 C.F.R. §
16
     1500.1 (2016) (Council on Environmental Quality (“CEQ”) regulations). DHS is
17

18   woefully deficient in carrying forth this mandate.
19
            3.     After DHS was established in 2003, it adopted its own NEPA
20

21   procedures, which were finalized in 2014. But these new procedures continue to
22
     perpetuate its blindspot to the manifold environmental consequences of its actions
23
     concerning the entry and settlement of mass numbers of people into the U.S.
24

25   Moreover, in recent years DHS has, with increasing frequency, undertaken
26
     discretionary actions on a greater scale to allow such entry and settlement of a
27

28   myriad of foreign nationals into the United States. These frequent, large scale,

                                               3
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 1
     related actions by DHS result in significant environmental impacts throughout the

 2   entire United States. Nonetheless, DHS continues to fail to undertake NEPA
 3
     review, in direct contravention of its mandate, before commencing such actions.
 4

 5           4.      Given DHS’s failure, those members of the public (like the Plaintiffs)
 6
     particularly affected by or interested in such environmental consequences have no
 7

 8   opportunity to voice their views before the agency takes action. Not only does
 9
     DHS take actions of great environmental significance with increasing frequency,
10

11   it also often does not explain or present to the public in any formal way what it
12   has actually done. In the worst cases, DHS never even publishes its actions, and
13
     the public only realizes what has happened at all because of leaks to the media.
14

15   Meanwhile, the environmental consequences reverberate around the country, with
16
     the public largely in the dark about why and how it is happening. The intention of
17

18   NEPA is to prevent exactly this scenario.
19
             5.      In order to establish the scope and magnitude of the environmental
20

21   impacts at issue, Plaintiffs have undertaken extensive research and retained
22
     experts 1 to:
23

24
     1
25     Plaintiffs retained three experts for this action. Jessica Vaughan, an expert on
26
     United States immigration law, policy and practice, produced two reports
     regarding the discretionary actions of DHS, analyzing them and their specific
27   impacts on the U.S. population and the influx of foreign nationals over the
28   Southwest border. Her reports are attached hereto in Ex. 2. Steven Camarota,
     Ph.D., an expert on the demographic impacts of immigration, produced an expert
                                                 4
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 1
           a) identify and delineate those specific, ongoing discretionary actions that

 2   DHS has undertaken concerning the entry and settlement into the United States of
 3
     multitudinous foreign nationals; and
 4

 5         b) identify and delineate environmental impacts to Plaintiffs resulting from
 6
     these and past actions, including, but not limited to, the impacts from massive
 7

 8   population growth directly attributable to DHS actions and environmental damage
 9
     along the Southwest border of the United States.
10

11         6.     Plaintiffs seek to compel DHS to properly comply with NEPA in
12   connection with its agency actions that concern the entry and settlement of
13
     multitudinous foreign nationals into the United States. Plaintiffs seek both a
14

15   declaration from this Court that DHS is violating NEPA and an injunction to
16
     require DHS to comply with the law. Further, Plaintiffs assert that, in the course of
17

18   approving its agency actions concerning the entry and settlement of foreign
19
     nationals into the United States, DHS violated its fundamental obligation to engage
20
     in well-reasoned, non-arbitrary decision-making under the Administrative
21

22   Procedure Act, (“APA”). See 5 U.S.C. § 701 et seq. (2016). In Count I, Plaintiffs
23
     assert that the NEPA procedures DHS adopted in 2014 are arbitrary and capricious,
24

25

26
     report addressing the impact of immigration upon population growth. His report is
27   attached hereto as Ex. 3. Phil Cafaro, Ph.D., a sustainability expert, produced a
28   report on the environmental impacts of population growth. His report is attached
     hereto as Ex. 4.
                                               5
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 1
     in violation of the APA and NEPA. In Count II, Plaintiffs assert that DHS’s failure

 2   to initiate NEPA compliance for thirty-three actions relating to the entry and
 3
     settlement of foreign nationals into the United States violates the APA and NEPA.
 4

 5   In Count III, Plaintiffs assert that DHS’s failure to prepare a Programmatic
 6
     Environmental Impact Statement for these thirty-three actions violates the APA
 7

 8   and NEPA. Count IV addresses one particular action, a recently adopted DHS rule,
 9
     that DHS deemed categorically excluded from NEPA review. Plaintiffs assert the
10
     application of the categorical exclusion was arbitrary and capricious, in violation
11

12   of the APA and NEPA. Finally, in Count V, Plaintiffs challenge the NEPA review
13
     DHS completed for its June 2, 2014 Action “Response to the Influx of
14

15   Unaccompanied Alien Children,” with violating NEPA and the APA.
16
                              JURISDICTION AND VENUE
17

18          7.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §
19
     1331 (federal question jurisdiction), 5 U.S.C. § 701 et seq. (APA), 28 U.S.C. §
20

21   1361 (mandamus) and may issue a declaratory judgment and further relief
22   pursuant to 28 U.S.C. § 2202 (declaratory and injunctive relief). Plaintiffs claim
23
     that DHS has not and is not acting in accordance with federal law. See 5 U.S.C. §
24

25   706.
26

27

28

                                               6
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 1
            8.     Venue in this judicial district is proper under 28 U.S.C. § 1391(e)

 2   because this is an action against an agency of the United States and at least one
 3
     plaintiff resides in this district.
 4

 5                                  RELEVANT STATUTES
 6
     A.     THE NATIONAL ENVIRONMENTAL POLICY ACT
 7

 8          9.     NEPA is the “basic national charter for protection of the environment.”
 9
     40 C.F.R. § 1500.1. NEPA’s essential purpose is “to help public officials make
10

11   decisions that are based on understanding of environmental consequences, and take
12
     actions that protect, restore, and enhance the environment.” 40 C.F.R. § 1500.1(c).
13
            10.    NEPA expressly recognizes Congressional concern for “the profound
14

15   influences of population growth” on “the natural environment[.]” 42 U.S.C. §
16
     4331(a). Through NEPA, Congress directs, in relevant part, that the Federal
17

18   Government shall:
19
                   use all practicable means, consistent with other
20                 essential considerations of national policy, to improve
21                 and coordinate Federal plans, functions, programs,
                   and resources to the end that the Nation may--
22

23                    (1) fulfill the responsibilities of each generation as
                   trustee of the environment for succeeding generations;
24
                      (2) assure for all Americans safe, healthful,
25                 productive, and esthetically and culturally pleasing
26                 surroundings;
                      (3) attain the widest range of beneficial uses of the
27
                   environment without degradation, risk to health or
28

                                                7
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 1
                 safety, or other undesirable and unintended
                 consequences;
 2                   (4) preserve important historic, cultural, and
 3               natural aspects of our national heritage, and maintain,
                 wherever possible an environment which supports
 4
                 diversity and variety of individual choice;
 5                   (5) achieve a balance between population and
 6
                 resource use which will permit high standards of
                 living and a wide sharing of life’s amenities . . . .
 7

 8   42 U.S.C. § 4331(b) (emphasis added).
 9
           11.   To accomplish its goals, NEPA requires each federal agency to
10

11   identify and consider the environmental impacts of its proposed federal actions. See
12   generally, 42 U.S.C. § 4331. Each agency must also consider alternatives and
13
     mitigating measures which could avoid or reduce such impacts before
14

15   implementing federal agency actions that may significantly affect the environment.
16
     To these ends, NEPA establishes, in relevant part:
17

18                      The Congress authorizes and directs that, to
                        the fullest extent possible: (1) the policies,
19
                        regulations, and public laws shall be
20                      interpreted and administered in accordance
21
                        with the policies set forth in this chapter, and
                        (2) all agencies of the Federal Government
22                      shall--
23                      ...
                            (C) include in every recommendation or
24
                        report on proposals for legislation and other
25                      major Federal actions significantly affecting
26
                        the quality of the human environment, a
                        detailed statement by the responsible official
27                      on--
28

                                               8
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 1
                           (i) the environmental impacts of the
                           proposed action,
 2                         (ii) any adverse environmental effects
 3                         which cannot be avoided should the
                           proposal be implemented,
 4
                           (iii) alternatives to the proposed action, ...
 5                         (v) any irreversible or irretrievable
 6                         commitment of resources which would be
                           involved in the proposed action should it
 7                         be implemented.
 8

 9
     42 U.S.C. § 4332.

10
           12.    “The phrase ‘to the fullest extent possible’ in section 102 means that
11

12
     each agency of the Federal Government shall comply with that section unless

13   existing law applicable to the agency’s operation expressly prohibits or makes
14
     compliance impossible.” 40 C.F.R. § 1500.6 (2016); see also 40 C.F.R. § 1507.2
15

16   (2016) (Agency capability to comply).
17
           13.    NEPA is designed to inject environmental considerations early into a
18

19   federal agency’s decision-making process in order that the agency can “take
20
     actions that protect, restore, and enhance the environment.” 40 C.F.R. § 1500.1(c).
21

22
     NEPA is also intended to engage the public and stakeholders while the agency

23   gathers and solicits relevant, “high quality” information, as well as inform and
24
     engage the public in the agency decision-making process. See 40 C.F.R. §
25

26   1500.1(b); see also §§ 1503.1(a)(4) (Inviting comments), 1506.6 (Public
27
     involvement) (2016). Because “public involvement” is paramount in the NEPA
28

                                                9
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 1
     process, each agency shall “[p]rovide public notice of NEPA-related hearings,

 2   public meetings, and the availability of environmental documents so as to inform
 3
     those persons and agencies who may be interested or affected.” 40 C.F.R. §
 4

 5   1506.6(b).
 6
           14.    NEPA established the White House Council on Environmental
 7

 8   Quality (CEQ), which issues regulations guiding agencies’ compliance with
 9
     NEPA. See 42 U.S.C. § 4341 et seq. (2016); 40 C.F.R. § 1500. CEQ regulations
10

11   clearly define what constitutes agency action and set forth the process for
12
     determining whether an action or program significantly affects the quality of the
13
     human environment. “Major federal actions” are defined to “include new and
14

15   continuing activities including projects and programs entirely or partly financed,
16
     assisted, conducted, regulated, or approved by federal agencies; new or revised
17

18   agency rules, regulations, plans, policies, or procedures . . . .” 40 C.F.R. §
19
     1508.18(a) (2016).
20

21         15.    CEQ regulations provide that each federal agency shall adopt
22
     procedures to ensure that its “decisions are made in accordance with [NEPA’s]
23
     policies and procedures . . . .” 40 C.F.R. § 1505.1 (2016). Further, agency
24

25   procedures shall comply with CEQ regulations. See 40 C.F.R. § 1507.3(b)(1)
26
     (2016). An agency must specifically ensure that its NEPA procedures provide for
27

28   designating the major decision points for the agency’s principal programs likely to
                                                10
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 1
     have a significant effect on the human environment and assuring that the NEPA

 2   process corresponds with them. 40 C.F.R. § 1505.1(b).
 3

 4
           16.    Pursuant to NEPA, DHS adopted its “Instruction Manual 023-01-001-

 5   01, Implementation of the National Environmental Policy Act (NEPA)” on
 6
     November 6, 2014 (“Instruction Manual” attached hereto as Ex. 5). 2 The
 7

 8   Instruction Manual “serves as the DHS implementing procedures for NEPA (as
 9
     required by 40 C.F.R. §§ 1505.1 and 1507.3) which supplement the CEQ
10

11   regulations and therefore must be read in conjunction with them.” Id. at III-1. The
12
     Instruction Manual states that NEPA applies to a wide range of DHS activities:
13

14
                        Generally, NEPA applies to Federal actions that
                        affect the human environment. Within DHS,
15                      NEPA generally applies to actions to be
16                      undertaken, funded, permitted or otherwise
                        approved by DHS[,] including activities that
17
                        may be wholly initiated within DHS, executed
18                      by DHS under the direction of Congress, or
19
                        proposed by persons or organizations outside of
                        DHS that require approval funding, a license, or
20                      a permit from DHS.
21

22
     Id.

23

24

25
      2
26
       Instruction Manual 023-01-001-01, Revision 01, Implementation of the
      National Environmental Policy Act (NEPA), Department of Homeland Security
27    (Nov. 6, 2014),
28    https://www.dhs.gov/sites/default/files/publications/DHS_Instruction%20Manual
      %20023-01-001-01%20Rev%2001_508compliantversion.pdf.
                                              11
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 1
           17.    Pursuant to 42 U.S.C. § 4332(C) (2016), each agency is required to

 2   prepare an “Environmental Impact Statement” (“EIS”) for each “major federal
 3
     action[] significantly affecting the quality of the human environment . . . .”
 4

 5         18.    CEQ regulations provide for the preparation of a document known as
 6
     an Environmental Assessment (“EA”) to enable an agency to determine whether a
 7

 8   particular action may have a significant impact on the quality of the human
 9
     environment and thus require preparation of an EIS. 40 C.F.R. § 1501.4 (2016).
10

11         19.    An EA or EIS must also discuss and analyze alternatives to a
12
     proposed program or project--including a “no-action” alternative, which may have
13

14
     less environmental impact than the proposed action, as well as mitigation measures

15   in relation to potential environmental impacts. See 40 C.F.R. §§ 1502.14, 1508.9,
16
     1502.16 (2016).
17

18         20.    CEQ regulations provide that agency actions that are “related to each
19
     other closely enough to be, in effect, a single course of action shall be evaluated in
20

21   a single impact statement.” 40 C.F.R. § 1502.4(a) (2016). In such actions an EIS:
22
                  may be prepared, and are sometimes required, for
23                broad Federal actions such as the adoption of new
24                agency programs or regulations (§ 1508.18). Agencies
                  shall prepare statements on broad actions so that they
25
                  are relevant to policy and are timed to coincide with
26                meaningful points in agency planning and
27
                  decisionmaking.

28

                                               12
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 1
     40 C.F.R. § 1502.4(b). Such actions “have relevant similarities, such as common

 2   timing, impacts, alternatives, methods of implementation, media, or subject
 3
     matter.” 40 C.F.R. § 1502.4(c)(2).
 4

 5         21.    In preparing an EA or EIS, an agency must consider direct, indirect,
 6
     and cumulative effects. See 40 C.F.R. §§ 1502.16, 1508.8, 1508.9, 1508.27 (2016).
 7

 8   Under NEPA, “effects” and “impacts” are synonymous and include:
 9
                  ecological (such as the effects on natural resources
10                and on the components, structures, and functioning of
11                affected ecosystems), aesthetic, historic, cultural,
                  economic, social, or health, whether direct, indirect or
12
                  cumulative. Effects may also include those resulting
13                from actions which may have both beneficial and
14
                  detrimental effects . . . .

15
     40 C.F.R. § 1508.8(b).
16

17         22.    “Cumulative impact” is defined as:
18
                  the impact on the environment which results from the
19                incremental impact of a project when added to other
20                past, present, and reasonably foreseeable future
                  actions regardless of what agency (Federal or non-
21
                  Federal) or person undertakes such other actions.
22                Cumulative impacts can result from individually
23
                  minor but collectively significant actions taking place
                  over a period of time.
24

25   40 C.F.R. § 1508.7. “Indirect effects” are defined as those impacts that:
26

27                are caused by the action and are later in time or farther
                  removed in distance, but are still reasonably
28
                  foreseeable. Indirect effects may include growth
                                               13
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 1
                  inducing effects and other effects related to induced
                  changes in the pattern of land use, population density
 2                or growth rate, and related effects on air and water and
 3                other natural systems, including ecosystems.
 4
     40 C.F.R. § 1508.8(b).
 5

 6
           23.    CEQ regulations authorize agencies to exempt agency certain actions
 7
     from environmental review through the use of “categorical exclusions.” 40 C.F.R.
 8

 9   § 1508.4 (2016). CEQ defines a categorical exclusion as “a category of actions
10
     which do not individually or cumulatively have a significant effect on the human
11

12   environment.” Id.
13
           24.    For those federal actions that are not categorically excluded and are,
14

15   following completion of an EA, determined not to have “a significant impact on
16
     the human environment” and thus do not require preparation of an EIS, the agency
17

18
     issues a “finding of no significant impact” (“FONSI”). 40 C.F.R. § 1508.13 (2016).

19
     B.    THE ADMINISTRATIVE PROCEDURE ACT
20

21         25.    The APA provides for judicial review of federal agency actions. See 5
22
     U.S.C. § 701 et seq. Under the APA, a reviewing court must “hold unlawful and
23
     set aside agency action, findings, and conclusions” found to be “arbitrary,
24

25   capricious, an abuse of discretion, or otherwise not in accordance with law[.]” 5
26
     U.S.C. § 706(2)(A) (2016). Accordingly, a federal agency must take a hard look at
27

28   the consequences of its actions. It must examine the relevant data and articulate a

                                              14
     Case 3:16-cv-02583-L-BLM Document 1 Filed 10/17/16 PageID.15 Page 15 of 85




 1
     satisfactory explanation for its action, including “a rational connection between the

 2   facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S. Inc. v.
 3
     State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). An agency must explain in
 4

 5   an explicit and rational manner how its decision is based upon and complies with
 6
     the relevant factors specified in the controlling statutory provision(s), together with
 7

 8   applicable agency regulations. See id. at 42-43. A reviewing court may set aside, as
 9
     arbitrary and capricious, agency factual findings and conclusions found to be
10
     unsupported by substantial record evidence. 5 U.S.C. § 706(2).
11

12
                                           PARTIES
13
     A.    PLAINTIFFS
14

15         26.    The Whitewater Draw Natural Resource Conservation District
16
     (“WWDNRCD”) and the Hereford Natural Resource Conservation District
17

18   (“HNRCD”) are part of the state of Arizona’s Natural Resource Conservation
19
     District program that was established in response to the 1930’s dust bowl. Natural
20

21   Resources Conservation Districts, Ariz. State Land Dep’t.,
22
     https://land.az.gov/natural-resources/natural-resource-conservation-districts (last
23
     visited Oct. 13, 2016). The conservation district program promotes restoration and
24

25   conservation of the state’s natural resources. Id. As part of the conservation district
26
     program, WWDNRCD and HRNCD operate pursuant to Arizona Revised Statutes
27

28   (“A.R.S.”) § 37, Chapter 6 and are governed by locally elected and appointed
                                               15
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 1
     officials. Id. The districts are charged with evaluating the conservation needs of

 2   their respective areas and partnering with local, state, and federal agencies to
 3
     restore and conserve the landscapes and waters of their respective regions. Id. The
 4

 5   statutory purpose of the WWDNRCD and HNRCD is defined as follows:
 6

 7                to provide for the restoration and conservation of lands
 8                and soil resources of the state, the preservation of water
                  rights and the control and prevention of soil erosion, and
 9                thereby to conserve natural resources, conserve wildlife,
10                protect the tax base, protect public lands and protect and
                  restore this state’s rivers and streams and associated
11
                  riparian habitats, including fish and wildlife resources
12                that are dependent on those habitats, and in such manner
13
                  to protect and promote the public health, safety and
                  general welfare of the people.
14

15   Ariz. Rev. Stat. Ann. § 37-1001 (2016); see also Natural Resources Conservation
16
     Districts, Ariz. State Land Dep’t, https://land.az.gov/natural-resources/natural-
17

18   resource-conservation-districts (last visited Oct. 13, 2016).
19

20         27.    The Arizona Association of Conservation Districts (“AACD”) is the
21
     state association of the Arizona Conservation Districts. See Ariz. Ass’n of
22

23   Conservation Dists., https://aznrcd.org/ (last visited Oct. 13, 2016). The mission of
24
     the AACD is to support the conservation partnerships between the conservation
25

26
     districts and state and federal agencies, raise awareness of the activities of the

27   conservation districts, and provide them with training and education. See id.
28

                                                16
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 1
           28.    The members of the WWDNRCD, HNRCD, and AACD have been

 2   victimized and damaged by DHS’s failure to comply with NEPA because their
 3
     members live along the Southwest border which has been environmentally
 4

 5   degraded as a result of DHS’s discretionary actions relating to border enforcement
 6
     and immigration law. The policies of DHS have resulted in an increase in the
 7

 8   numbers of individuals illegally crossing their members’ properties. See Jessica
 9
     Vaughan’s Report, “Analysis of Discretionary Agency Actions (Past and Ongoing)
10
     That Resulted in Cumulatively Significant Environmental Impacts on the
11

12   Southwest Border,” attached hereto in Ex. 2. at 750 as Ex. B.
13

14
           29.    Fred Davis is the Chairman of WWDNRCD, located in Southeastern
15

16   Arizona. F. Davis Aff. at ¶ 1. He is also member of AACD. Mr. Davis’s affidavit is
17
     attached hereto as Ex. 6. He notes that “[t]he WWDNRCD seeks to protect,
18

19
     conserve and sustain natural resources in th[e] region, particularly soil and water.”

20   Id. at ¶ 2. Most of WWDNRCD’s members are, like Mr. Davis, “multi-generation
21
     ranchers and farmers who are stewards of their land that plan to pass their
22

23   traditional way of life on to future generations.” Id. Mr. Davis lives on a vast ranch
24
     25 miles from the US/Mexico border that has been in his family for generations. Id.
25

26   at ¶ 1. For Mr. Davis, “the ranch was a quiet and peaceful place to live and raise a
27
     family” before illegal border-crossings by illegal aliens and smugglers started
28

                                               17
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 1
     becoming rampant across his property. Id. at ¶ 5. The unending parade of illegal

 2   aliens has “physically degraded” his land. Id. at ¶ 11.
 3

 4                  The constant trampling of the land by illegal border
                    crossers has left permanent damage as well. Many illegal
 5
                    aliens crossing over our native grasslands will follow the
 6                  paths beaten over time by previous crossers, and in those
                    places, the grass will no longer grow. There are now
 7
                    eleven paths near our house where sixty percent of the
 8                  grass is gone. These grasses are native to the area, and
 9
                    illegal border crossers also have an adverse impact on
                    protected plant life. Native plants that grow on our
10                  property, such as the Soaptree Yucca cactus, which can
11                  grow to be 12 feet high, Century Plant, barrel cactus, and
                    the Mesquite tree that have been trampled by drug cartels
12
                    crossing in vehicles. What makes me even angrier is that
13                  many of these plants are protected by the state of
14
                    Arizona—we ourselves would be violating the law if we
                    removed these native plants from our property. Yet these
15                  plants that take 6 to 8 years to grow are destroyed
16                  without consequence by illegal aliens.
17

18
     Id. at ¶ 13.

19
     Mr. Davis and his family have “picked up literally tons of trash” that illegal border-
20

21
     crossers have dumped on their land. Id. at ¶ 11. They have found human feces on

22   their property “in abundance.” Id. The garbage is a dangerous health hazard. Id. It
23
     has killed some of their cattle, and it has made ranching “far more difficult,
24

25   dangerous and expensive.” Id. at ¶¶ 11, 12. The years of illegal border-crossings
26
     have shattered Mr. Davis’s peace and tranquility. Id. at ¶ 14. Life on the ranch has
27

28

                                                18
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 1
     become much more stressful; Mr. Davis feels like he is living in a “war zone.” Id.

 2   at ¶ 15.
 3

 4
                    We feel that we are in constant reactionary mode, as
                    people keep unlawfully crossing, and we know some of
 5                  them may be a threat to our personal safety, giving us
 6                  great anxiety for our children. The dogs bark in the night
                    at the border crossers, making it difficult for us to sleep.
 7

 8
     Id. at ¶ 14.
 9

10   The constant stress means that Mr. Davis has “headaches and health problems [] at
11
     home, that go away when I travel.” Id. at ¶ 15. The DHS actions at issue in this
12
     case “have real, concrete, harmful ongoing impacts on me, my family, our land,
13

14   and the general border environment.” Id. at ¶ 20. Like so many others, Mr. Davis is
15
     “angry contemplating all of the damage done to our environment that might never
16

17   have occurred if DHS had followed its obligations under NEPA.” Id. at ¶ 20.
18
            30.     Peggy Davis has served as a clerk and as the Education Center
19

20   Director of the WWDNRCD. P. Davis Aff. at ¶ 2. She is also a member of the
21
     AACD. Id. Her affidavit is attached hereto as Ex. 7. Mrs. Davis lives with her
22

23
     husband Fred Davis, together with her children and grandchildren on a 10,000-acre

24   ranch 25 miles from the Arizona/Mexico border. Id. at ¶ 1. In her role as clerk and
25
     Education Director, Mrs. Davis has planned workshops on such topics as water and
26

27   soil, solar energy, estate planning and ranch tours. Id. at ¶ 2. Because of the
28
     unending flow of illegal border-crossers over her land, she can no longer take
                                                 19
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 1
     walks or ride bikes alone. Id. at ¶ 4. She is “afraid to go alone without a firearm.”

 2   Id. Mrs. Davis’s enjoyment of her ranch has diminished significantly over the years
 3
     because DHS, and INS before it, adopted policies that have failed to secure the
 4

 5   border. Id. Accordingly, “it feels like our land has been under siege.” Id. at ¶ 1. She
 6
     and her family are constantly picking up trash of all sorts, as well as continuously
 7

 8   repairing fences, as documented in the photographs that are included in her
 9
     affidavit. Id. She too has suffered injuries because DHS has failed to conduct any
10
     NEPA analysis regarding its myriad immigration-related actions, stating:
11

12
                   Perhaps, if DHS had done the proper analysis and
13                 informed the public when it made discretionary decisions
14
                   that encouraged illegal aliens to continue crossing the
                   border, as the law requires, it would have decided that it
15                 was important to ramp up enforcement instead. Perhaps
16                 the public, if it had understood the environmental costs of
                   DHS’s actions, would have demanded more effective
17
                   enforcement. My land and the whole border region in the
18                 Southwest might look different today—unspoiled, serene,
                   and undamaged environmentally. Instead, ceaseless flows
19
                   of people have crossed the border, with no end in sight, .
20                 . . because, our government has simply given up.
21

22   Id. at ¶ 9.
23

24          31.    Californians for Population Stabilization (“CAPS”) is a 501(c)(3),
25
     non-partisan, membership-based, public interest organization organized and
26

27
     existing under the laws of California. See: About Us, Californians for Population

28   Stabilization, http://www.capsweb.org/about/about-us (last visited Oct. 12, 2016).
                                               20
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 1
     CAPS’s mission is to end policies and practices that cause human overpopulation

 2   and the resultant decline in Americans’ quality of life in California as well as in
 3
     the United States. Id. CAPS believes that unending human population growth
 4

 5   causes environmental damage and overuse of nature’s bounty, leaving an
 6
     impoverished Golden State. See id. Unending population growth in California also
 7

 8   strains local infrastructure. Id. Further, it frays community institutions.
 9
     Environmental impacts resulting from unending population growth include, but are
10
     not limited to: damage to air quality, increasing sprawl, increasing demand for
11

12   water, increasing water pollution, increasing greenhouse gases and accelerating
13
     climate change, exacerbated traffic congestion, school overcrowding, loss of green
14

15   space, farmland, forests and wildlife, and other non-renewable resources. See
16
     generally id. CAPS has members and supporters in every state of the United
17

18
     States, with a majority residing throughout California. Because essentially all of

19   California’s population growth presently stems from immigration and births to
20
     immigrants, CAPS’s priority goal is to reduce both legal and illegal immigration
21

22   into California and the United States. Id. Indeed, California’s population nearly
23
     doubled during the period from 1970 to 2015, from approximately 20 million to
24

25   39.6 million. 3 Most of that population growth resulted from immigrants and their
26

27
      3
28     Steven A. Camarota & Bryan Griffith, By State: Number Immigrants and Their
      Minor Children, Center for Immigration Studies (March 28, 2016),
                                                21
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 1
     offspring. Id. California has the largest share of foreign born of any state in this

 2   nation. Id. In 1970, immigrants and their minor children constituted roughly 13%
 3
     of California’s population--2.6 million people. Id. By 2015, 37.4% of California’s
 4

 5   population was comprised of immigrants and their minor children--nearly 15
 6
     million people. Id. There is no end in sight to the state’s immigration-driven
 7

 8   population growth. CAPS and its members who live, work and pursue recreational
 9
     activities in California are adversely affected by the population growth resulting
10
     from the DHS actions at issue. CAPS members have a substantial interest in
11

12   ensuring that DHS complies with federal law, including the requirements of
13
     NEPA. CAPS and its members are being, and will continue to be, harmed by the
14

15   failure of DHS to make any attempt to comply with NEPA. Plaintiff’s expert
16
     Jessica Vaughan estimates over two million individual beneficiaries of DHS’s
17

18
     discretionary actions remain settled in California. See Ex. 2 at 763, in Ex. C.

19
           32.    Richard D. Lamm, an attorney and Certified Public Accountant,
20

21
     served as Governor of Colorado from 1975 to 1987, and is a longtime member of

22   CAPS. R. Lamm Aff. at ¶ 2. Governor Lamm, whose affidavit is attached hereto as
23
     Ex. 8, has been a resident of Colorado since 1961. Id. at ¶ 1. He is presently Co-
24

25   Director of Public Policy at the University of Denver. Id. at ¶ 2. Governor Lamm
26
     has “been deeply involved in the environmental movement for decades and ha[s]
27

28
      http://cis.org/Camarota/Map-Number-Immigrants-Minor-Children.
                                                22
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 1
     always been concerned about out of control population growth.” Id. at ¶ 3. While

 2   attending law school at Berkeley during the years 1958-1961, he “was already
 3
     appalled at what population growth was doing to California.” Id. at ¶ 5. He notes
 4

 5   that California’s population has continued to swell, now largely because of
 6
     immigration. Id. That is why he joined CAPS. Id. In the more than 50 years since
 7

 8   Governor Lamm moved to Colorado he has “embraced and cherished its
 9
     wilderness.” Id. at ¶ 8. He notes that he has climbed 50 of Colorado’s highest
10
     peaks, hiked and skied its mountains, and kayaked its rivers. Id. “That unspoiled,
11

12   beautiful Colorado that stirred me so deeply has fallen victim to population growth,
13
     which is inseparable from mass foreign immigration.” Id. Unhappily, he has
14

15   “watched Colorado go from a lovely state with a high quality of life to a Colorado
16
     whose front range (from Pueblo to Fort Collins) is rapidly becoming a Los Angeles
17

18
     of the Rockies.” Id. Substantial numbers of immigrants have settled in Colorado

19   and the state’s population has more than doubled during the period 1970 to 2015--
20
     from 2.2 million people to about 5.5 million people.4 Many of the newcomers are
21

22   Americans who have been “crowded out of California by endless foreign
23
     immigration.” R. Lam. Aff. at ¶ 14. He believes that his lifelong effort “to save
24

25

26

      4
27     See Statista, The Statistics Portal, Resident Population in Colorado from 1960
28    to 2015, in millions, https://www.statista.com/statistics/206101/resident-
      population-in-colorado/ (last accessed on October 15, 2016).
                                              23
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 1
     Denver from an environmentally unsustainable, high growth future would not have

 2   been in vain” if DHS had complied with NEPA “as it was supposed to.” Id. at ¶ 17.
 3

 4
                    The National Environmental Policy Act (NEPA), which
                    became law in 1970, was supposed to have stopped this
 5                  kind of ill-considered population growth from happening.
 6                  In the 1960s and 1970s, the environmental movement
                    understood how important population stabilization was to
 7
                    everything it stood for. This emphasis in NEPA itself of
 8                  the importance of population growth reflects this priority.
                    NEPA, the bedrock of our environmental law, was
 9
                    designed to ensure for environmentally informed
10                  decision making and public participation . .... Federal
11                  agencies, like the Department of Homeland Security
                    (DHS), are not supposed to carry out actions that affect
12
                    the environment without first considering the
13                  consequences. What can have a greater environmental
                    impact on our states and the nation than immigration? In
14
                    the days when NEPA was passed, population growth was
15                  not substantially a matter of immigration, but now
16
                    immigration is our population’s primary driver.
                    Moreover, it is certainly the primary driver of population
17                  growth that is most within the federal government’s
18                  control. Our immigration levels are ultimately a policy
                    choice. DHS is the federal agency that actually
19
                    implements our nation’s immigration policies, and so
20                  DHS is responsible for carrying out the federal policy
21
                    that has the greatest impact on the environment of all.
                    And yet, DHS has done zero environmental review of its
22                  immigration related actions. Zero!
23

24   Id. at ¶ 16.
25
            33.     Josephine Foulk Wideman, whose affidavit is attached as Ex. 9, has
26

27   been the Executive Director of CAPS for the past fifteen years. J. Wideman Aff. at
28
     ¶ 2. Ms. Wideman has lived in Santa Barbara, California for nearly 40 years. Id. at
                                                24
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 1
     ¶ 1. Over the decades she has unhappily witnessed the ongoing erosion of Santa

 2   Barbara’s small town charm due, in large part, to unending, unrelenting population
 3
     growth, which has doubled the size of her town. Id. at ¶ 3. Many special, beautiful
 4

 5   places in Santa Barbara that Ms. Wideman has treasured over the years, including
 6
     local parks, playgrounds, and waters, are now routinely overrun with people. Id. at
 7

 8   ¶ 7. As an environmentalist, she laments the impacts of this growth not only on her
 9
     town, but also upon California’s famed, unique biodiversity, and its unparalleled
10
     landscape. See id. at ¶ 13. She further laments the ever-increasing ecological
11

12   footprint of ever more people upon California’s natural systems. See id. at ¶¶ 7-8.
13
     California’s historic drought is exacerbated by population growth, and, due to
14

15   water restrictions, she no longer cultivates an English garden at her home. Id. at ¶
16
     8. She notes that “[d]espite California’s progressive stance on water consumption,
17

18
     energy consumption and protecting the environment, unending population growth

19   erases those conservation efforts because more and more people mean more and
20
     more energy consumption, water consumption and land consumption.” Id. at ¶ 16.
21

22   Ms. Wideman believes that the Santa Barbara and California she loves has been
23
     and are continuing to be sacrificed at the altar of endless population growth. See id.
24

25   at ¶ 19. The reality is that this massive, unending population growth is now
26
     resulting almost exclusively from the arrival of foreign nationals in California,
27
     together with their subsequent offspring. See id. at ¶ 19. Ms. Wideman notes that
28

                                               25
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 1
     out of a population of 39 million, over 10 million Californians are foreign-born, a

 2   higher percentage than any other state. See id. at ¶¶ 16-17. If current trends
 3
     continue, California is headed to a population of 50 million in the coming decades,
 4

 5   with no end in sight. Id. She laments the enormous consequences of DHS’s failure
 6
     to even attempt to comply with NEPA in its immigration-related actions, stating:
 7

 8                  I have been dismayed that for all these years
 9
                    DHS has failed to even attempt to comply with
                    NEPA. The agency has never considered the
10                  likely environmental impacts of its agency
11                  decisions and actions relating to immigration.
                    DHS[] is the biggest driver of US population
12
                    growth. And because it is people who impact the
13                  environment, it is incredible to think how
14
                    different Santa Barbara, California, and the
                    entire country might be if DHS had complied
15                  with NEPA. For example, DHS might not have
16                  implemented as many programs granting illegal
                    aliens reprieves from deportation (such as
17
                    Deferred Action for Childhood Arrivals), if the
18                  resultant overpopulation issues and impending
                    overuse of resources had been evaluated and
19
                    considered and made open to the American
20                  public. Going forward, the agency must comply
21                  with NEPA and help our nation move toward
                    real environmental sustainability.
22

23
     Id. at ¶ 19.
24

25

26          34.     Don Rosenberg, whose affidavit is attached hereto as Ex. 10, is a 27-
27   year resident of California. D. Rosenberg Aff. at ¶ 1. He is also the father of Drew
28

                                                26
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 1
     Rosenberg, a 25-year old law student who was hit and killed in 2010 by Roberto

 2   Gallo, a Honduran national who illegally entered the United States and
 3
     subsequently received Temporary Protected Status under federal law, one of the
 4

 5   federal actions at issue in this case. Id. at ¶ 8. Mr. Rosenberg joined CAPS after his
 6
     son was killed because:
 7

 8                mass immigration was imposing huge social and
                  environmental costs. Mass immigration wasn’t adding to
 9
                  our quality of life--it was detracting from it in a
10                tremendous way. Furthermore, our government is even
11                fostering and overlooking illegal activity, because our
                  “leaders” were more interested in votes, campaign
12
                  contributions and the cheap labor . . . .
13

14   Id. at ¶ 13. Mr. Rosenberg dreads the ever-increasing congestion of Los Angeles
15
     County’s roads, and resents the ever-increasing air pollution coming from
16

17
     “millions of cars sitting on the 101 freeway for hours.” Id. at ¶ 5. Because of the

18   drought, exacerbated by endless population growth, he and his neighbors no longer
19
     water their yards. Id. at ¶ 6. He finds that “[l]iving in a landscape without plants
20

21   drastically reduces the natural beauty and enjoyability of the surroundings.” Id. Mr.
22
     Rosenberg recognizes that Southern California has a limited water supply and
23

24   “when more people come in, we have no choice but to use less water personally.”
25
     Id. He states:
26

27                I fear that in the future, the environment will continue to
                  deteriorate in Southern California. Despite the fact that
28                we seem to have reached our land’s capacity, and we are
                                               27
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 1
                   already straining to support the population we have now,
                   DHS seems to only want to force ever more population
 2                 growth on the nation. For Southern California’s future, I
 3                 see more water shortages, more traffic, and more
                   pollution. The state is already in a hole, and it just seems
 4
                   like our public officials are looking for a bigger shovel. It
 5                 will probably drive me out of California in the future.
 6

 7
     Id. at ¶ 14. Finally, Mr. Rosenberg wistfully muses that perhaps, if DHS had

 8   complied with NEPA, it might not have created such a huge TPS program that
 9
     allowed his son’s killer to stay in the United States and maybe his son would still
10

11   be alive. Id. at ¶ 16.
12
            35.    Claude Wiley, whose declaration is attached hereto as Ex. 11, joined
13

14   CAPS because “something needs to be done about the population explosion, the
15
     reckless disregard of immigration laws, and the ecological impacts” resulting from
16

17
     both. C. Wiley Decl. at ¶ 2. He lives in Pasadena, California and commutes to work

18   by bicycle (wearing a mask) because he is “dedicated to doing [his] part to reduce
19
     pollution and carbon emissions.” Id. at ¶ 5. But large scale unending population
20

21   growth in the Los Angeles region, all of which now results from immigration,
22
     simply adds ever more pollution and erases air quality gains. Id. at ¶ 5. Mr. Wiley
23

24   is frustrated because “if not for the immigration-driven population growth, the air
25
     quality in the Los Angeles region would be getting better.” Id. at ¶ 10. He takes
26
     mass transit to lessen his impact on the environment and observes that, due to
27

28   strong state and local policies to support mass transit, the buses and the trains are
                                                28
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 1
     full and yet the roads are still choked with cars: “we’re starting to hit a wall.” Id. at

 2   ¶ 13. The lovely places where Mr. Wiley has enjoyed hiking and nature-watching
 3
     over the years, including the San Gabriel Mountains and Echo Mountain, grow
 4

 5   ever more crowded with people, and “[t]he more crowded the path becomes, the
 6
     less I want to use it.” Id. at ¶ 15. Like others, Mr. Wiley fears for California’s
 7

 8   future if population growth trends continue unabated. Id. at ¶ 18. He notes that
 9
     “DHS continues to drive population growth through its discretionary actions . . .”
10
     Id. “If DHS had only followed its legal obligations under NEPA, perhaps the
11

12   public would have realized the impact immigration was having on the environment
13
     and made different decisions--Perhaps the Los Angeles area and California would
14

15   look very different today.” Id. at ¶ 17.
16
           36.    Ric Oberlink has lived in Berkeley California for nearly 40 years and
17

18   is a member of CAPS. R. Oberlink Aff. at ¶ 1-2. Mr. Oberlink’s affidavit is
19
     attached as Ex. 12. As the population of California, and particularly the Bay area,
20

21
     has continued to rise, his enjoyment of local parks has diminished, due to increased

22   crowding. Id. at ¶ 4. He notes that “[a]n increased human population has made
23
     camping in wilderness areas and national parks much more troublesome and much
24

25   less convenient than it was in previous years when population levels were lower.”
26
     Id. at ¶ 5. “Camping spots in prime areas at prime times require advance
27

28   reservations, often far in advance.” Id. at ¶ 5. Mr. Oberlink’s enjoyment of cycling

                                                29
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 1
     has also diminished because areas he once cycled through are more heavily

 2   trafficked and open space has been developed. Id. at ¶ 8. He notes that during the
 3
     years 1990-2014, the population increase in Alameda County, where Berkeley is
 4

 5   located, all resulted from immigration. Id. at ¶ 11. By 2014, immigrants comprised
 6
     31% of the county population, or 483,750 individuals out of a total population of
 7

 8   1,559,308. Id. He states that in Alameda County, “the portion of the population
 9
     comprised of immigrants soared from 18 percent in 1990 to 31 percent in 2014, to
10
     a total of about half a million,” not counting offspring. Id. Mr. Oberlink asserts
11

12   that:
13
                    Had DHS considered the environmental
14
                    implications of its immigration actions, it might
15                  have chosen different actions, resulting in a
16
                    California and an America with lower levels of
                    population, more open space and wildlife habitat,
17                  and less environmental damage than that which we
18                  have today. Failure to review future actions could
                    condemn this country to never-ending population
19
                    growth and further diminution of natural resources.
20

21           Id. at ¶ 19.
22
             37.    Richard Alan Schneider is the Chair of CAPS. R. Schneider Aff. at ¶
23

24   2. His affidavit is attached hereto as Ex. 13. Mr. Schneider has lived for nearly fifty
25
     years in California, mostly in Oakland. Id. at ¶ 1. Mr. Schneider, a conservationist
26

27   and scientist, has “spent thousands of hours fighting to protect open space in the
28   Bay Area . . . .” Id. at ¶ 13. He states:
                                                 30
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 1
                  Since 2000, I have orchestrated nine open space initiative
                  campaigns in Alameda and Contra Costa Counties--
 2                formulating policies to protect the land, helping write the
 3                text to enact those policies, organizing signature drives to
                  qualify the initiatives for the ballot, raising money for
 4
                  election campaigns, and then walking precincts and
 5                distributing literature in favor of those ballot measures.
 6
                  For each initiative I have put in hundreds of hours of
                  volunteer time, and when an initiative passes, as most
 7                have, they must be defended in court if the developers
 8                sue; and after they are successfully defended, they must
                  be continually monitored to make sure they are
 9
                  implemented and enforced by the local jurisdiction.
10

11                Id. at ¶ 12.
12
     Mr. Schneider has spent so much time trying to protect open space because he
13

14   enjoys observing native California species, such as hawks and eagles, and
15
     irreplaceable native habitats. Id. at ¶¶ 18-19. The species he treasures and the open
16

17   space he loves regularly disappear. Id. He states that “California leads the nation in
18
     the number of species at risk of extinction and the number of endemic species at
19

20
     risk, those species that occur nowhere else in the world.” Id. at ¶ 18. The

21   disappearance of nature and wildlife is deeply disturbing to Mr. Schneider. See id.
22
     at ¶¶ 19-20. Land is routinely bulldozed for new construction, all in service of
23

24   accommodating endless population growth:
25
                  Is it really too many people that are causing this
26
                  loss of wildlife? In California, the answer is most
27                emphatically yes. The California Department of
                  Fish and Wildlife, in its Atlas of the Biodiversity
28
                  of California, states unequivocally, “Habitat loss
                                               31
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 1
                    due to human population growth presents the
                    single biggest problem facing native plants and
 2                  animals in California.”
 3

 4   Id. at ¶ 20.
 5
     Mr. Schneider observes that presently, all of California’s population growth is
 6

 7   “coming from foreign immigration and births to immigrants.” Id. at ¶ 25.
 8
     California’s population continues to climb even though more U.S. citizens leave
 9
     California for other states than move to California. Id. He views population growth
10

11   as “one of the greatest threats to the natural world.” Id. at ¶ 27. And, like other
12
     affiants, he is “amazed and appalled by DHS’s total abdication of its legal
13

14   obligations under NEPA.” Id. at ¶ 26.
15
            38.     Scientists and Environmentalists for Population Stabilization
16

17   (“SEPS”) is a small, informal, non-governmental organization run by scientists, but
18
     open to all. See generally Scientists and Environmentalists for Population
19

20
     Stabilization, http://www.populationstabilization.org/index.html (last visited on

21   Oct. 13, 2016). It currently has about 50 members throughout the United States. Id.
22
     SEPS’s mission is to improve understanding within the U.S. scientific, educational
23

24   and environmental communities of the fact of overpopulation and its social,
25
     economic and environmental consequences at both the national and global levels.
26

27   See generally id. SEPS advocates for U.S. population stabilization, followed by its
28   gradual reduction to a sustainable level through humane, non-coercive means. Id.
                                                32
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 1
     SEPS also advocates for a gradual transition to ecological economics for our

 2   economic system. See generally id. It chiefly advocates by operating exhibitor
 3
     booths addressing population stabilization at the annual meetings of scientific
 4

 5   societies; SEPS is usually the only U.S. organization of its kind at these meetings.
 6
     See id.
 7

 8         39.    Dr. Stuart Hurlbert is the president of SEPS and a longtime member of
 9
     CAPS. S. Hurlbert Aff. at ¶ ¶ 4, 16. His affidavit is attached hereto as Ex. 14. Dr.
10

11   Hurlbert is Professor Emeritus of Ecology at San Diego State University and has
12
     lived in San Diego and Del Mar, California since 1970. Id. The negative impacts of
13
     constant population growth have been an ongoing subject of personal and
14

15   professional concern for Dr. Hurlbert for many years. Id. at ¶ ¶ 1-2. San Diego
16
     County’s population has more than doubled from 1.36 to 3.30 million people since
17

18   1970. 5 A substantial share of the population growth is the result of immigration. As
19
     an example, the immigrant share of the population in San Diego County has risen
20

21
     from 17.2% in 1990 to 23.4% in 2014. S. Hurlbert Aff. at ¶ 5. Unending population

22   growth translates into more traffic, despite the addition of new freeways and
23

24
      5
25     See Population.us, Population of San Diego County,
26
      http://population.us/county/ca/san-diego-county/ (last visited on Oct. 15, 2016)
      and Tatiania Sanchez, The San Diego Union Tribune, SD County second largest
27    in CA, despite slow growth, (Jan. 4, 2016),
28    http://www.sandiegouniontribune.com/news/border-baja-california/sdut-san-
      diego-county-population-2016jan04-story.html.
                                               33
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 1
     expansion of existing roads. Id. at ¶ 5. Dr. Hurlbert avers that ever more traffic, and

 2   the congestion it creates, means “loss of time, restriction of travel schedules, and
 3
     increased aggravation [which] has had a negative impact” on him. Id. A particular
 4

 5   source of unhappiness is the increasing degradation of Mission Trails Regional
 6
     Park, one of the largest urban parks in the United States, which Dr. Hurlbert has
 7

 8   enjoyed both personally and professionally over the decades, for hiking,
 9
     birdwatching and class trips. Id. at ¶ 7. The vastly increased use of the park and its
10
     concomitant deterioration over the decades has corresponded with the population
11

12   growth of San Diego County. See id. Areas in Del Mar that Dr. Hulbert used to
13
     hike with his son are now covered with “new highways, new housing
14

15   developments and new shopping centers.” Id. at ¶ 8. For Dr. Hurlbert, “[o]ne of the
16
     biggest ongoing, population-driven environmental disasters in Southern California
17

18
     is what is happening at the Salton Sea.” Id. at ¶ 9. Dr. Hurlbert has studied the

19   Salton Sea for several decades. It is “one of the most important habitats for
20
     waterbirds of diverse sorts in the Southwest” and Dr. Hurlbert has enjoyed bird
21

22   watching there for fifty years. Id. at ¶¶ 9, 11. Much to Dr. Hurlbert’s dismay,
23
     population growth now threatens the Salton Sea because the water that drains into
24

25   it is now being tapped for diversion to facilitate population growth in coastal
26
     California. See id. at ¶ 9. “It pains me greatly to be a witness to its population-
27
     driven demise.” Id. at ¶ 11. Dr. Hurlbert is well acquainted with NEPA and
28

                                                34
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 1
     distinctly recalls being “greatly pleased at its passage, with its clear references to

 2   the ‘profound influences of population growth’ and ‘the critical importance of
 3
     restoring and maintaining environmental quality’ and the need to ‘achieve a
 4

 5   balance between population and resource use.’” Id. at ¶ 16. He notes that
 6
     population growth in both California and the United States in now driven primarily
 7

 8   by immigration, and “[i]f DHS and its predecessor agencies had been doing proper
 9
     NEPA analyses all along, it might have changed it policies long ago, and I might
10
     have seen much less damage occur to the places I love.” Id. at ¶ 19.
11

12
           40.    Glen Colton has lived in Fort Collins, Colorado for 37 years. G.
13
     Colton Aff. at ¶ 1. Mr. Colton’s affidavit is attached as Ex. 15. When he moved to
14

15   Fort Collins, the town had 65,000 residents and was surrounded by “wide open
16
     spaces,” and agricultural land. Id. at ¶ 3. At that time Fort Collins was “an idyllic
17

18   place to live, work, and raise a family.” Id. at ¶ 3. Over the decades, however, the
19
     town’s population has soared to 160,000 today. Id. at ¶ 4. Its population is expected
20

21
     to grow by another 80,000 over the next 10 to 15 years with no end to the growth

22   in sight. See id. Many of the agricultural areas and “wide open spaces” that used to
23
     surround the city are gone. See id. The population of the surrounding region is
24

25   “projected to nearly double” from 500,000 to one million people within 20 years,
26
     with no end in sight. See id. Mr. Colton is negatively impacted by the endless surge
27

28   of population growth which causes sprawl, degradation of the Poudre River, loss of

                                                35
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 1
     nature and wildlife, increasing light and air pollution and increasing traffic and

 2   congestion. See id. at ¶¶ 5-7. Like Mr. Oberlink, Mr. Colton’s enjoyment of
 3
     protected public land in the region has diminished because more and more users
 4

 5   are “putting increasing pressure on trails, fragile habitat and wildlife.” Id. at ¶ 8. He
 6
     unhappily notes that Estes Park, the gateway to Rocky Mountain National Park,
 7

 8   has changed over the years he has visited and now “is a crowded, congested mess .
 9
     . . .” Id. at ¶ 8. The destruction of the natural world from “rampant and destructive
10
     effects of population growth” is evident to Mr. Colton as he travels around the
11

12   western United States. Id. at ¶ 10. He states that “[w]ater issues are becoming
13
     increasingly dire, infrastructure is overloaded, wildlife habitat is being destroyed,
14

15   development is rapidly encroaching on fire prone areas, congestion and crowding
16
     is widespread, and consumption and resulting energy usage . . . are increasing.” Id.
17

18
     He does not believe that this endless population growth is ecologically sustainable

19   and indeed, feels “incredibly betrayed and cheated by the United States” because
20
     he chose to have only one child to help stabilize the nation’s population yet the
21

22   federal government has embraced a national population policy that imposes
23
     unending massive population growth through immigration. Id. at ¶ 15. DHS and
24

25   the State Department are “de facto U.S. growth spigot[s]” that have completely
26
     ignored NEPA. Id. at ¶ 17. If these agencies had complied with NEPA, “the US
27
     landscape . . . would most likely look very different today.” Id.
28

                                                36
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 1
           41.    Caren Cowan has been the Executive Director of the New Mexico

 2   Cattlegrowers’ Association (“NMCGA”) for nineteen years. C. Cowan Aff. at ¶ 2.
 3
     Ms. Cowan’s affidavit is attached hereto as Ex. 16. The purpose of NMCGA is to
 4

 5   promote the interests of the cattle-ranching community in New Mexico and
 6
     nineteen other states. Id. As Ms. Cowan states, “We preserve and protect our land
 7

 8   not only because we depend on the land economically, but also because we love
 9
     our land and way of life. We also seek to protect the land in order to ensure the
10
     wellbeing and opportunities of generations to come.” Id. at ¶ 3. Ms. Cowan’s
11

12   family has been continuously ranching in Cochise County, Arizona since 1884, and
13
     she owns part of a ranch near Elfrida, Arizona. Id. at ¶ 4. She has always enjoyed
14

15   being on the borderlands and calls it “a special place.” Id. at ¶ 6. Ms. Cowan states,
16
     “I experience a spiritual renewal when I am out in these vast open spaces with no
17

18
     sounds other than wildlife and livestock, and not a person for miles around.” Id.

19   Because of the constant fear of illegal border-crossers, Ms. Cowan no longer feels
20
     safe out on the range. Id. at ¶¶ 5, 7 Her grandmother’s homestead was ransacked
21

22   and despoiled by illegal aliens on multiple occasions. Id. at ¶ 9. Many members of
23
     NMCGA have also experienced criminal activities on their lands, including stolen
24

25   vehicles and break-ins. Id. at ¶ 7. Ms. Cowan understands DHS has failed to
26
     consider any of the environmental impacts resulting from its myriad of agency
27
     actions and finds this a “shocking disappointment.” Id. at ¶ 10.
28

                                               37
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 1
           42.    John W. Ladd is a supervisor for the HNRDC and a member of the

 2   AACD. J. Ladd Aff. at ¶ 4. His affidavit is attached as Ex. 17. Mr. Ladd has lived
 3
     his entire life on a 16,400-acre ranch on the Arizona/Mexico border. Id. at ¶ 1. The
 4

 5   ranch has been in his family since 1896. Id. at ¶ 1. He states that “[r]anching on
 6
     this land is my heritage--passed from previous generations to me, and it is a way of
 7

 8   life I have always hoped to pass on to many generations to come.” Id. During his
 9
     youth, illegal border-crossers were not much of a problem, but he states the flow
10
     “has become such a problem that it has ruled our lives and dictated the way we
11

12   ranch. An endless stream of illegal border crossers has trashed my land and
13
     destroyed my enjoyment of my property.” Id. at ¶ 2. The grass has stopped
14

15   growing in areas used as trails and “[t]he ground where grasses no longer grow is
16
     an eyesore that reminds me of how much environmental damage I am constantly
17

18
     suffering.” Id. at ¶ 9. He estimates that hundreds of thousands of illegal border-

19   crossers have been caught by the border patrol on his property. Id. at ¶ 5. This huge
20
     flow of people has led to the dumping of approximately 20 tons of trash on his
21

22   property--too much to control, despite Mr. Ladd and his family’s efforts to pick up
23
     as much as they can. See id. at ¶ 6. Much of this garbage ultimately gets swept into
24

25   the San Pedro River, which was clean enough to swim in when he was young but is
26
     now polluted with trash and human waste. See id. at ¶¶ 6-7. Mr. Ladd understands
27
     that DHS has never done “any environmental analysis that acknowledges that
28

                                               38
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 1
     arriving aliens have environmental impacts.” Id. at ¶ 13. This failure affects Mr.

 2   Ladd personally, because “[i]f DHS had done the proper NEPA analysis of the
 3
     environmental impacts of its policies before implementing them, perhaps it would
 4

 5   have realized that the environmental costs were too severe. The damages to the
 6
     environment on my land might never occurred if DHS and the INS had followed
 7

 8   NEPA.” Id. at ¶ 14.
 9
           43.    John Charles Oliver is the President of Floridians for a Sustainable
10

11   Population (“FSP”). J. Oliver Aff. at ¶ ¶ 4, 17. His affidavit is attached hereto as
12
     Ex. 18. FSP was established as a not-for-profit in 1994 in an effort to educate
13
     Floridians about the necessity to stabilize Florida’s human population in order “to
14

15   preserve and protect our natural resources and open spaces for future generations to
16
     enjoy.” Id. at ¶ 17. FSP recognizes that immigration is now the engine driving
17

18   population growth in both Florida and the entire United States. See id. FSP
19
     operates a website and, among other things, commissioned a sprawl study in 2000
20

21
     to coincide with Florida Overpopulation Awareness Week. Id. In the fifteen years

22   following that 2000 campaign, Florida’s population has continued to mushroom,
23
     from about 16 million to over 20 million. Id. at ¶ 16. Mr. Oliver has lived 28 years
24

25   in Southeastern Florida--Broward, Palm Beach and Martin Counties. Id. at ¶¶ 1, 6.
26
     The population of Broward increased from 628,980 to 1,815, 269 from 1970 to
27

28   2014. Id. at ¶ 16. Palm Beach County tells much the same story; its population

                                               39
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 1
     grew from 353,158 in 1970 to 1,359,074 in 2014. Id. Martin County’s population

 2   has increased from 28,460 in 1970 to 149,658 in 2014. Id. During the years he has
 3
     lived in Florida, Mr. Oliver has witnessed and experienced the harmful impacts of
 4

 5   intense population growth upon the natural world, especially water habitats. Id. at ¶
 6
     13. Mr. Oliver is a certified diver and has “done extensive diving and fishing on the
 7

 8   reefs of Broward and Palm Beach Counties, the Florida Keys, the Bahamas, and
 9
     Cozumel Mexico.” Id. at ¶ 2. Coral reefs he enjoyed so much in the 1970’s are
10
     largely gone now: “Today, the beautiful coral reefs I dived and fished [on] in
11

12   Broward and Palm Beach County are no longer living[;] [93%] of hard corals have
13
     vanished due to six municipal sewage outfalls, port-dredging, and coral bleaching
14

15   due to carbon acidification caused by the increase of fossil fuels being burned.” Id.
16
     at ¶ 9. Formerly an avid fisher, Mr. Oliver no longer fishes as often because boat
17

18
     launches are backed up and it is hard to find a place to put one’s boat in the water.

19   Id. at ¶ 14. Previously-free boat ramps now charge money. Id. Moreover, numerous
20
     waterways, especially the St. Lucie River, have become polluted and contaminated
21

22   by the septic tanks installed for thousands of new homes built along the river and
23
     fertilizer nitrate runoff:
24

25                 The river grasses that covered the bottom of the estuary
                   are now dead and the bottom is covered with green slime.
26
                   These grasses were essential to sustaining the entire food
27                 chain of fish, birds, turtles, and marine mammals. Many
28                 of the dolphins and manatees have sores on their bodies
                   and some have died. Unfortunately, this scenario is being
                                               40
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 1
                  repeated at an alarming pace in waters across the state.
                  The estuary of the west coast of Florida by Pine Island
 2                that was one of my favorite places to fish has also seen
 3                declining water quality.
 4
     Id. at ¶ 13. Mr. Oliver further notes that “[m]any species of table fare fish are now
 5

 6   heavily regulated due to overharvesting...[n]umerous reefs in the Florida Keys have
 7
     become Marine Sanctuaries and are totally off limits to fishing.” Id. at ¶ 15.
 8

 9   Florida’s rapid population growth over the past fifty years has been exacerbated by
10
     large inflows of immigrants--over 25% of Florida’s 20-million plus-population of
11
     are immigrants and their children. Id. at ¶ 16. Most of Florida’s recent population
12

13   growth is presently the result of federal immigration policies--67% according to a
14
     recent report, “Vanishing Open Spaces.” Id. at ¶ 19. Mr. Oliver understands that
15

16   DHS has not considered the environmental impacts of its myriad immigration-
17
     related actions, all the while, he says, “it has been established without question that
18

19
     the doubling and tripling of our population has had a very detrimental effect on our

20   environment.” Id. at ¶ 23.
21

22
           44.    Ralph Pope is a retired Natural Resource Management/Ecologist for

23   the U.S. Forest Service. R. Pope Aff. at 7. His affidavit is attached hereto as Ex.
24
     19. Mr. Pope has lived in Southeastern Arizona and Southwestern New Mexico
25

26   along the U.S/Mexico border for most of his life. See id. at ¶¶ 1-2. His affidavit
27
     details his personal and professional pleasure over the decades, experiencing and
28

                                               41
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 1
     enjoying the entire “scope and range of southwest ecosystems, from desert to high

 2   elevation mixed conifers.” See id. at ¶ 10. He notes his particular affection for the
 3
     region’s famed “sky islands”--hot spots of great biodiversity found nowhere else
 4

 5   on the globe. Id. Mr. Pope devoted his career to monitoring and trying to protect
 6
     the Piloncillo, Chiricahua and Dragoon Mountains, federal lands which make up
 7

 8   the Douglas Ranger District. Id. at ¶ 4. His job with the Forest Service entailed
 9
     monitoring ecosystem health and livestock grazing operations on federal lands. Id.
10
     Unfortunately, over the decades, Mr. Pope has personally witnessed the ecological
11

12   degradation of “unique native ecosystems located on hundreds of thousands of
13
     acres of once pristine and unspoiled lands . . . .” Id. at ¶ 5. This degradation was
14

15   caused by illegal border-crossings, whose destructive impacts include trampled
16
     native vegetation, garbage, polluted water, destroyed wilderness and fires that burn
17

18
     out of control. Id. at ¶ 11. Mr. Pope’s affidavit describes the destruction of Burro

19   Springs and the Chiricahua Mountain Range that occurred as a result of fires set by
20
     illegal border-crossers. See id. at ¶¶ 11, 14. One significant negative impact of such
21

22   fires is that much of the native vegetation gets burned away and is replaced by
23
     invasives. See id. at ¶ 15. He states that “[a]s an ecologist, this upsets me
24

25   tremendously.” Id.
26

27   B.    DEFENDANTS
28

                                                42
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 1
           45.    Defendant, DHS, is a federal agency which was established in 2003,

 2   pursuant to the Homeland Security Act passed on November 25, 2002. See
 3
     Homeland Security Act of 2002, Pub. L. No. 107–296, 116 Stat. 2135 (2002).
 4

 5   Pursuant to this grant of authority, DHS is mandated to administer border security,
 6
     immigration enforcement and naturalization, and establish and administer rules
 7

 8   governing the granting of visas or other forms of permission to enter the country.
 9
     See 116 Stat. at 2178, 2187. By the authority of that Act, DHS took over the
10
     functions of government formerly delegated by Congress to an agency known as
11

12   the U.S. Immigration and Naturalization Service (“INS”), a division since 1940 of
13
     the Department of Justice. DHS now carries out the functions of the former INS,
14

15   that is, the regulation of immigration into the U.S., through three sub-agencies, U.S.
16
     Customs and Border Protection (“CBP”), U.S. Citizenship and Immigration
17

18
     Services (“USCIS”), and Immigration and Customs Enforcement (“ICE”). 6 As a

19   federal agency, DHS is subject to NEPA and the APA. In accordance with NEPA,
20
     DHS has adopted NEPA regulations to guide its discretionary agency action
21

22   decisionmaking. See 42 U.S.C. § 4333; Dep’t of Homeland Sec., DHS Directive
23
     023-01, Environmental Planning Program (2006) (attached hereto as Ex. 20);
24

25   Instruction Manual, supra note 2 (See Ex. 5); Synopsis of Administrative Record to
26

      6
27     Our History, U.S. Citizenship and Immigration Services (May 25, 2011),
28    https://www.uscis.gov/about-us/our-history (providing a discussion of the history
      of the organization of immigration regulation within the U.S. government).
                                              43
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 1
     Support Proposed New Categorical Exclusions Under the National Environmental

 2   Policy Act, Department of Homeland Security (Dec. 2014),
 3
     https://www.dhs.gov/sites/default/files/publications/CATEXs_admin%20record_ve
 4

 5   rsion_Final_Dec2014_508compliantversion.pdf.
 6

 7         46.    Defendant Jeh Johnson is sued in his official capacity as the Secretary
 8
     of DHS (“Secretary”). The Secretary is authorized to lead and manage DHS. The
 9

10   Secretary is responsible for ensuring that DHS’s actions, such as those actions at
11
     issue sub judice, comply with the requirements of NEPA.
12

13
                               GENERAL ALLEGATIONS

14   Connecting the Dots: People Cause Environmental Impacts. Therefore, DHS
15   Actions that Address the Entry and Settlement of People into the United
     States are Subject to NEPA.
16

17         47.    The Allegations in this complaint rest on a set of straightforward facts,
18
     and one need only connect the dots:
19

20                i)    NEPA requires Federal agencies to apply NEPA when
21
                  undertaking actions and making decisions that could have a
22

23                significant impact on the human environment.
24
                  ii)   One of the biggest environmental impacts results directly, as
25

26
                  well as indirectly, from the size of human population, particularly
27                where vital natural resources such as drinking water are over-
28

                                              44
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 1
               subscribed.

 2
               iii)   The primary factor driving U.S. population growth is
 3
               international migration. Immigrants from abroad add directly to the
 4

 5             nation’s population by their arrival and by the children they have after
 6
               they come. Because the fertility of American women has been at or
 7

 8             below replacement level for many years — 2.1 children per women —
 9
               absent immigration there would be very little long-term population
10

11
               growth in the United States. Census Bureau projections published in

12             2014 indicate that because of future immigration the U.S. population
13
               will be 95 million larger in 2060 than it otherwise would be absent
14

15             immigration.
16

17             See Ex. 3 at 765. The Pew Research center reported in 2015 that the 72
18
               million post-1965 immigrants and their offspring and grandchildren
19

20             account “for the majority of U.S. population growth in the past five
21
               decades.” See Ex. 3 at 766. Indeed, Dr. Camarota estimates that during
22

23             the years 2010-2014, immigration and offspring added 8.3 million
24
               people to the U.S. population. This increase comprises 87% of U.S.
25
               population growth during that brief period. Id.
26

27
               iv)    DHS is the agency charged with the mission of regulating and
28

                                           45
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 1
                  controlling the entry (both legal and illegal) and settlement of foreign

 2                nationals into the United States.
 3
                  v)     After connecting these dots, it becomes indisputable that DHS
 4

 5                controls one of the most environmentally significant mandates
 6
                  delegated to any federal agency, and yet DHS fails to even consider
 7

 8                the direct, much less enormous indirect and cumulative environmental
 9
                  impacts of its actions relating to this mandate.
10

11
           48.    DHS, like its predecessor agency INS, has continuously failed to make
12   well-informed decisions as mandated by NEPA; has failed to conduct reasoned
13
     analyses of those potential impacts; has failed to engage the public on the range of
14

15   potential environmental impacts or create a public record so that interested or
16
     affected members of the public could learn about the environmental implications of
17

18   the DHS actions, all as required by both NEPA and the APA.
19
           49.    Despite the enormous impacts to the human environment resulting
20

21
     from DHS’s actions relating to the entry and settlement of foreign nationals into

22   the United States, DHS has failed to initiate NEPA review for these ongoing
23
     actions. Such actions include the regulations, policies, programs and plans
24

25   promulgated pursuant to the Immigration and Nationality Act (“INA”), the
26
     Immigration Control and Reform Act (“IRCA”), the Immigration Act of 1990, the
27

28   Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (“IIRIRA”),

                                               46
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 1
     and other immigration statutes. See Immigration and Nationality Act, Pub. L. No.

 2   82-414, 66 Stat. 163 (1952); Immigration Control and Reform Act of 1986, Pub. L.
 3
     No. 99-603, 100 Stat. 3359 (1986); Immigration Act of 1990, Pub. L. No. 101-649,
 4

 5   104 Stat. 4978 (1990); Illegal Immigration Reform and Immigrant Responsibility
 6
     Act of 1996, Pub. L. No. 104-208, 110 Stat. 3009 (1996). Such actions also include
 7

 8   discretionary decisions that implement and enforce the nation’s immigration laws
 9
     which DHS and its predecessor INS adopted by means other than regulation, such
10
     as via policy memoranda. The actions at issue in this complaint have resulted and
11

12   will continue to result in impacts to the human environment, including, but not
13
     limited to significant population growth in the United States and ongoing
14

15   environmental degradation along the Southwest border.
16
           50.    In the few paltry places where DHS makes reference to NEPA, as will
17

18
     be demonstrated in ¶¶ 54-57 and 90-98, DHS does so in a dismissive manner, and
19   its record of decisions are woefully devoid of even the most basic forms of
20
     analytical support.
21

22         51.    One can only conclude - as the Plaintiffs in this case have - that DHS,
23
     with its outsized influence on our nation’s population growth and ipso facto on our
24

25   nation’s environmental health, has acted and continues to act in a manner that is
26
     arbitrary and capricious with respect to its NEPA obligations.
27

28                DHS Actions Subject to NEPA

                                              47
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 1
           52.    The Instruction Manual promulgated by DHS to guide its NEPA

 2   compliance is silent with respect to the entry and settlement of foreign nationals in
 3
     the United States, even though such entry and settlement constitutes one or more of
 4

 5   DHS’s “principle programs” subject to specific NEPA mandates and EISs are
 6
     required for “broad actions.” See 40 C.F.R. §§ 1502.4(b), 1505.1(b).
 7

 8         53.    DHS’ ongoing actions, relating to the entry and settlement of foreign
 9
     nationals into the United States, are set forth as follows, attached in full where
10

11
     publicly available in Ex. 1, and further described and analyzed in Ex. 2, by Jessica

12   Vaughan, a longtime immigration researcher at the Center for Immigration Studies:
13
           ●      Action 1: Legal Op. No. 98-10, issued August 21, 1998 entitled,
14

15   “Subject: Authority to parole applicants for admission who are not also arriving
16
     aliens.” This action created a discretionary authority known as “parole-in-place”
17

18   whereby DHS and its predecessor INS can grant “parole,” generally a process that
19
     allows inadmissible aliens outside the country to enter the U.S., to aliens already
20
     inside the U.S. as well as those still outside. The memorandum is attached in Ex. 1
21

22   at 2, under Action 1.
23
           ●      Action 2: Directive 11002.1, issued December 8, 2009 entitled,
24

25   “Parole of arriving aliens found to have a credible fear of persecution or terror.”
26
     This action allowed for aliens claiming asylum to be released rather than detained
27

28
     if a USCIS officer determines they have made a “credible” claim of fear of return.

                                               48
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 1
     The directive is attached in Ex. 1 at 7, under Action 2.

 2         ●      Action 3: Policy Memorandum 602-0091 issued November 15, 2013
 3
     entitled, “Parole of Spouses, Children and Parents of Active Duty Members of the
 4

 5   U.S. Armed Forces, the Selected Reserve of the Ready Reserve, and Former
 6
     Members of the U.S. Armed Forces or Selected Reserve of the Ready Reserve and
 7

 8   the Effect of Parole on Inadmissibility under Immigration and Nationality Act §
 9
     212(a)(6)(A)(i).” This action creates a parole program for relatives of military
10
     members and veterans. The memorandum is attached in Ex. 1 at 18, under Action
11

12   3.
13
           ●      Action 4: Memorandum issued by Secretary Johnson on November
14

15   20, 2014 concerning “Families of U.S. Armed Forces Members and Enlistees.”
16
     This action expands eligibility for the military parole program. The memorandum
17

18
     is attached in Ex. 1 at 28, under Action 4.

19         ●      Action 5: Announcement by USCIS officials on October 27, 2011 of
20
     creation of “Parole for Caregivers of Critical Medical or Special Needs
21

22   Individuals” in Northern Mariana Islands. This action creates a parole program for
23
     in home caregivers in the Commonwealth of the Northern Mariana Islands. The
24

25   memorandum is attached in Ex. 1 at 31, under Action 5.
26
           ●      Action 6: Memorandum issued by Secretary Johnson on November
27
     20, 2014 concerning “Directive to Provide Consistency Regarding Advance
28

                                               49
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 1
     Parole.” This action formalizes the discretionary power of “advance parole,” which

 2   allows aliens in the country to leave and return as parolees. The memorandum is
 3
     attached in Ex. 1 at 37, under Action 6.
 4

 5         ●      Action 7: Central American Minors Refugee and Parole Program,
 6
     initially conceived and established between July 2014 and February 2015, and
 7

 8   recently expanded on July 26, 2016 in an announcement by DHS. USCIS sets out
 9
     the eligibility requirements on its website on a page entitled, “In-Country
10
     Refugee/Parole Processing for Minors in Honduras, El Salvador and Guatemala
11

12   (Central American Minors – CAM).” See Ex. 1 at 40, under Action 7. This action
13
     creates a program using parole by which aliens living in the U.S. may bring in
14

15   relatives and minors with whom they have legal guardianship over by petitioning
16
     the U.S. government. The program criteria available on USCIS’ website are also
17

18
     attached in Ex. 1 at 40 under Action 7.

19         ●      Action 8: Haitian Family Reunification Parole Program established
20
     December 18, 2014. This action gives parole to Haitians whose immigration
21

22   applications have been approved to accelerate their arrival in the country. The
23
     program criteria available on USCIS’ website are included in Ex. 1 at 44 under
24

25   Action 8.
26
           ●      Action 9: Proposed “International Entrepreneur Parole Rule”
27
     published in the Federal Register on August 31, 2016. Federal Register, Vol. 81,
28

                                                50
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 1
     No. 169, Wednesday, August 31, 2016. This is a proposed action that would, when

 2   finalized, create a program that would give parole to foreign entrepreneurs meeting
 3
     certain eligibility criteria. The proposed rule is attached in Ex. 1 at 51, under
 4

 5   Action 9. Plaintiff CAPS commented during the public comment period that DHS
 6
     must analyze the environmental impacts of this proposed rule, pursuant to NEPA.
 7

 8         ●      Action 10: Temporary Protected Status (“TPS”), established in 1990
 9
     pursuant to INA Section 244 (8 U.S.C. § 1254a) by which INS and subsequently
10
     DHS received discretion to grant foreign nationals the right to remain in the United
11

12   States and work. Since its inception, 20 countries have been designated. USCIS’s
13
     list of countries designated and eligibility requirements are included in Ex. 1 at 92,
14

15   under Action 10.

           ●
16
                  Action 11: the President has discretion to authorize Deferred Enforced
17

18
     Departure (“DED”) as part of his power to conduct foreign relations. Although

19   DED is not a specific immigration status, individuals covered by DED are not
20
     subject to removal from the United States, usually for a designated period of time.
21

22   USCIS’s list of current countries covered and eligibility requirements are included
23
     in Ex. 1 at 108, under Action 11.
24

25         ●      Action 12: DHS Policy Memorandum 10072.1 issued March 2, 2011
26
     entitled, “Civil Immigration Enforcement: Priorities for the Apprehension,
27
     Detention and Removal of Aliens.” This action removes the practical threat of
28

                                                51
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 1
     deportation from illegal aliens who don’t meet certain criteria. The memorandum is

 2   attached in Ex. 1 at 111, under Action 12.
 3
           ●      Action 13: DHS Policy Memorandum 10075.1, issued June 17, 2011
 4

 5   entitled, “Exercising Prosecutorial Discretion Consistent with the Civil
 6
     Immigration Enforcement Priorities of the Agency for the Apprehension, Detention
 7

 8   and Removal of Aliens.” This action ordered immigration agents to discontinue
 9
     enforcement activities against certain categories of illegal aliens. The memorandum
10
     is attached in Ex. 1 at 116, under Action 13.
11

12         ●      Action 14: DHS Policy Memorandum 10076.1, issued June 17, 2011
13
     entitled, “Prosecutorial Discretion: Certain Victims, Witnesses and Plaintiffs.” This
14

15   action orders immigration agents to discontinue enforcement activities against
16
     illegal aliens who are victims of crimes. The memorandum is attached in Ex. 1 at
17

18
     123, under Action 14.

19         ●      Action 15: DHS Memorandum, issued November 11, 2011 entitled,
20
     “Case by Case Review of Incoming and Certain Pending Cases,” with two
21

22   attachments: “Next Steps in the Implementation of the Prosecutorial Discretion
23
     Memorandum and the August 18th Announcement on Immigration Enforcement
24

25   Priorities,” and “Guidance to ICE Attorneys Reviewing the CBP, USCIS, and ICE
26
     Cases Before the Executive Office of Immigration Review.” This action orders
27
     immigration attorneys to review pending and incoming deportation cases and to
28

                                              52
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 1
     dismiss all those cases meeting certain criteria and allow the individuals to remain

 2   in the country. The memorandum is attached in Ex. 1 at 127, under Action 15.
 3
           ●      Action 16: DHS Policy Memorandum 602-055, issued November 7,
 4

 5   2011 entitled, “Revised Guidance for the Referral of Cases and Issuance of Notices
 6
     to Appear (NTAs) in Cases Involving Inadmissible and Removable Aliens.” This
 7

 8   action established new guidelines preventing USCIS from issuing Notices To
 9
     Appear without ICE’s permission in specified cases. The memorandum is attached
10
     in Ex. 1 at 136, under Action 16.
11

12         ●      Action 17: New Detainer form, which ICE announced it had issued in
13
     a bulletin on December 29, 2011, and which changed the policy on detainers. This
14

15   action meant ICE officers could now only issue detainers for aliens that had been
16
     convicted, not just booked, for a crime. The new form and the bulletin announcing
17

18
     it are attached in Ex. 1 at 146, under Action 17.

19         ●      Action 18: DHS Memorandum issued by John Morton on December
20
     12, 2012 entitled, “Civil Immigration Enforcement: Guidance on the Use of
21

22   Detainers in the Federal, State, Local, and Tribal Criminal Justice Systems.” This
23
     action limited the circumstances under which ICE can issue detainers. The
24

25   memorandum is attached in Ex. 1 at 152, under Action 18.
26
           ●      Action 19: DHS Memorandum issued by Janet Napolitano on June 15,
27
     2012 entitled, “Exercising Prosecutorial Discretion with Respect to Individuals
28

                                               53
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 1
     Who Came to the United States as Children” and DHS Memorandum issued by

 2   John Morton on June 15, 2012 entitled, “Secretary Napolitano’s Memorandum
 3
     Concerning the Exercise of Prosecutorial Discretion for Certain Removable
 4

 5   Individuals Who Entered the United States as a Child” (“DACA”). The action
 6
     created by these two memoranda initiated a new program giving a de facto lawful
 7

 8   status to certain illegal aliens. The memoranda are attached in Ex. 1 at 156, under
 9
     Action 19.
10
           ●      Action 20: DHS Policy Memorandum 602-0093 issued November 13,
11

12   2013 entitled, “Adjudication of Adjustment of Status Applications for Individuals
13
     Admitted to the United States Under the Visa Waiver Program.” This action allows
14

15   visa-overstayers admitted through the Visa Waiver Program to adjust their status to
16
     lawful permanent resident. The memorandum is attached in Ex. 1 at 162, under
17

18
     Action 20.

19         ●      Action 21 and Action 22: DHS Memorandum issued by Secretary
20
     Johnson on November 20, 2014 entitled, “Exercising Prosecutorial Discretion with
21

22   Respect to Individuals Who Came to the United States as Children and with
23
     Respect to Certain Individuals Who Are the Parents of U.S. Citizens or Permanent
24

25   Residents.” This memorandum takes two separate actions. The first action expands
26
     the DACA program so that more people are eligible and extends the duration of the
27
     status. The second action creates a new and bigger program, Deferred Action for
28

                                              54
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 1
     Parental Accountability (DAPA), which gives a de facto lawful status to the

 2   parents of U.S. citizens and lawful permanent residents. The memorandum is
 3
     attached in Ex. 1 at 170, under Action 21 and Action 22, respectively. The two
 4

 5   actions ordered by this memorandum have been put on a temporary hold by a
 6
     district judge’s preliminary injunction. DHS still intends to carry them out if they
 7

 8   are ultimately allowed to go forward.
 9
           ●      Action 23: DHS Memorandum issued by Secretary Johnson on
10
     November 20, 2014 entitled, “Policies for the Apprehension, Detention and
11

12   Removal of Undocumented Immigrants.” This action instructs DHS immigration
13
     agents to protect a larger number of aliens from deportation than DHS policies
14

15   previously had. The memorandum is attached in Ex. 1 at 176, under Action 23.

           ●
16
                  Action 24: DHS Memorandum issued by Secretary Johnson on
17

18
     November 20, 2014 entitled, “Secure Communities.” This action discontinues the

19   immigration enforcement program Secure Communities and replaces it with a
20
     different program. The memorandum is attached in Ex. 1 at 183, under Action 24.
21

22         ●      Action 25: DHS Final Rule entitled, “Provisional Unlawful Presence
23
     Waivers of Inadmissibility for Certain Relatives, Final Rule” published in the
24

25   Federal Register on January 3, 2013. Federal Register, Vol. 78, No. 2, Thursday,
26
     January 3, 2013. This action creates a categorical waiver of the three- and ten-year
27
     bars on admissibility for which certain relatives of U.S. citizens may apply. The
28

                                               55
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 1
     rule is attached in Ex. 1 at 187, under Action 25.

 2         ●      Action 26: DHS Final Rule entitled, “Expansion of Provisional
 3
     Unlawful Presence Waivers of Inadmissibility; Final Rule,” published in the
 4

 5   Federal Register on July 29, 2016. Federal Register, Vol. 81, No. 146, Friday, July
 6
     29, 2016. This action expands the categorical waiver of the three- and ten-year bars
 7

 8   on admissibility to cover more classes of relatives of U.S. citizens. The rule is
 9
     attached in Ex. 1 at 232, under Action 26.
10
           ●      Action 27: DHS Memorandum issued April 30, 2009 entitled,
11

12   “Worksite Enforcement Strategy.” This action suspended worksite raids, whereby
13
     aliens working illegally were apprehended at their place of employment, and
14

15   directed ICE agents to conduct worksite enforcement largely through paper audits
16
     of employment documents. The memorandum is attached in Ex. 1 at 268, under
17

18
     Action 27.

19         ●      Action 28: DHS Policy Memorandum 602-0092 issued November 11,
20
     2013 entitled, “Additional Guidance on Determining Periods of Admission for
21

22   Foreign Nationals Previously Admitted as H-4 Nonimmigrants who are Seeking H-
23
     2 or H-3 Status.” This action allows the holders of certain dependent-visas, which
24

25   are derivative of their spouse, to obtain a principal visa in their own right without
26
     counting the time spent previously in the country toward the maximum time-limit
27
     of the visa. The memorandum is attached in Ex. 1 at 273, under Action 28.
28

                                               56
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 1
           ●      Action 29: INS Interim Rule proposed July 20, 1992 entitled Pre-

 2   Completion Interval Training; F-1 Student Work Authorization, 57 Fed. Reg.
 3
     31,954 (proposed July 20, 1992); and Final Rule issued December 11, 2002,
 4

 5   entitled, “Retention and Reporting of Information for F, J, and M Nonimmigrants;
 6
     Student and Exchange Visitor Information System (SEVIS), 67 Fed. Reg. 76,256
 7

 8   (proposed Dec. 11, 2002) (codified at 8 C.F.R. § 212.1, 212.2, 212.3). These rules
 9
     created a program, the Optional Practical Training Program (OPT) that, in its
10
     revised version in 2002, authorized all aliens in the country on a student visa to
11

12   remain and work for a year when they should otherwise be required to leave the
13
     U.S. The 1992 interim rule and the 2002 final rule are attached in Ex. 1 at 278 and
14

15   at 286, respectively, under Action 29.

           ●
16
                  Action 30: DHS Final Rule issued March 11, 2016 entitled,
17

18
     “Improving and Expanding Training Opportunities for F-1 Nonimmigrant Students

19   with STEM Degrees and Cap-Gap Relief for All Eligible F-1 Students,” 81 Fed.
20
     Reg. 13,040, March 11, 2016 (codified at 8 C.F.R. §§ 214 and 274(a)). This action
21

22   expanded the Optional Practical Training (“OPT”) Program, which allows aliens in
23
     the country on student visas to stay and work for a time, for students working after
24

25   graduation in the science, technology, engineering, and/or math (STEM) fields for
26
     a longer period of time. The final rule is attached in Ex. 1 at 333, under Action 30.
27
     A member of CAPS, and other interested individuals commented during this rule’s
28

                                               57
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 1
     public comment period stating that the rule’s environmental impacts should be

 2   analyzed by DHS pursuant to NEPA. DHS did not initiate a NEPA analysis.
 3
     Instead, it stated in its final rule:
 4

 5                 Comment. DHS received several comments regarding
 6
                   potential environmental costs resulting from an increased
                   population, both in the United States generally, and in
 7                 Silicon Valley, California specifically, where many
 8                 STEM jobs are located. Some also noted that California
                   has been struggling with an ongoing drought.
 9
                   Response. Upon review, DHS remains convinced that our
10                 review pursuant to the National Environmental Policy
11                 Act is in compliance with the law and with our Directive
                   and Instruction.
12

13   Ex. 1 at 587. DHS categorically excluded this rule from NEPA analysis, finding
14
     that:
15

16                 J. Environment
17
                   The U.S. Department of Homeland Security Management
                   Directive (MD) 023–01 Rev. 01 establishes procedures
18                 that DHS and its components use to comply with the
19                 National Environmental Policy Act of 1969 (NEPA), 42
                   U.S.C. 4321–4375, and the Council on Environmental
20
                   Quality (CEQ) regulations for implementing NEPA, 40
21                 CFR parts 1500–1508. CEQ regulations allow federal
22
                   agencies to establish categories of actions, which do not
                   individually or cumulatively have a significant effect on
23                 the human environment and, therefore, do not require an
24                 Environmental Assessment or Environmental Impact
                   Statement. 40 CFR 1508.4. The MD 023–01 Rev. 01 lists
25
                   the Categorical Exclusions that DHS has found to have
26                 no such effect. MD 023–01 Rev. 01 Appendix A Table 1.
                   For an action to be categorically excluded, MD 023–01
27
                   Rev. 01 requires the action to satisfy each of the
28                 following three conditions:
                                              58
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 1
                 (1) The entire action clearly fits within one or more of the
                 Categorical Exclusions.
 2
                 (2) The action is not a piece of a larger action.
 3               (3) No extraordinary circumstances exist that create the
 4
                 potential for a significant environmental effect. MD
                 023–01 Rev. 01 section V.B(1)–(3).
 5
                 Where it may be unclear whether the action meets these
 6               conditions, MD 023–01 Rev. 01 requires the
                 administrative record to reflect consideration of these
 7
                 conditions. MD 023–01 Rev. 01 section V.B.
 8
                 DHS has analyzed this rule under MD 023–01 Rev. 01.
 9               DHS has determined that this action is one of a category
                 of actions that do not individually or cumulatively have a
10
                 significant effect on the human environment. This rule
11               clearly fits within the Categorical Exclusion found in MD
12               023–01 Rev. 01, Appendix A, Table 1, number A3(a):
                 ‘‘Promulgation of rules . . . of a strictly administrative or
13
                 procedural nature;’’ and A3(d): ‘‘Promulgation of rules .
14               . . that interpret or amend an existing regulation without
15
                 changing its environmental effect.’’ This rule is not
                 part of a larger action. This rule presents no extraordinary
16               circumstances creating the potential for significant
17               environmental effects. Therefore, this rule is
                 categorically excluded from further NEPA review.
18

19   Ex. 1 at 611-613.
20
           ●     Action 31: DHS Policy Memorandum 602-0111 issued March 24,
21

22   2015 entitled, “L-1B Adjudications Policy.” This action broadens the definition of
23
     the “specialized knowledge” that an applicant must demonstrate to obtain an L-1B
24

25   visa. This memorandum is attached in Ex. 1 at 634, under Action 31.
26
           ●     Action 32: T and U Visa Implementation. DHS first adopted an
27
     interim rule implementing the visa categories created by the Victims of Trafficking
28

                                              59
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 1
     and Violence Protection Act of 2000 (PL-106-386) with the published rule “New

 2   Classification for Victims of Criminal Activity, Eligibility for ‘U’ Nonimmigrant
 3
     Status,” 72 Federal Register, 53014, September 17, 2007. DHS further updated the
 4

 5   regulations on December 12, 2008, “Adjustment of Status to Lawful Permanent
 6
     Resident for T and U nonimmigrants” (codified at 8 C.F.R. § 245.24). These rules
 7

 8   are attached in Ex. 1 at 651 and 701, under Action 32.
 9
           ●      Action 33: Order from U.S. Border Patrol Headquarters in September
10
     2011 to discontinue its practice of routinely searching buses, trains, and airports at
11

12   transportation hubs along the northern border and in the nation’s interior. This
13
     action was never made public, so there is no available written record, however, two
14

15   Border Patrol agents described the order to the Associated Press on condition of
16
     anonymity. See The Associated Press, Border Patrol stops searches at Hubs,
17

18
     Portland Press Herald, October 29, 2011,

19   http://www.pressherald.com/2011/10/29/border-patrol-stops-searches-at-
20
     hubs_2011-10-29/.
21

22   Programmatic Environmental Assessment for Actions to Address an
23
     Increased Influx of Unaccompanied Alien Children and Family Units Across
     the Southwest Border of the United States.
24

25

26
           54.    DHS did conduct a NEPA review in one instance related to the entry

27   of foreign nationals into the United States. On June 2, 2014, the President issued a
28

                                               60
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 1
     Presidential Memorandum entitled, “Response to the Influx of Unaccompanied

 2   Alien Children across the Southwest Border” directing the Secretary of Homeland
 3
     Security to establish an interagency working group to address the “humanitarian
 4

 5   aspects” of a large influx of foreign nationals. See Ex. 21, attached hereto, at 1266.
 6
     The President’s goal was to assure a unified response by federal agency in
 7

 8   providing “housing, care, medical treatment, and transportation” to the
 9
     unaccompanied alien children crossing the Southwest border. Id.
10

11
           55.    DHS determined that the Southwest Border Memorandum and the

12   actions DHS took in response were a federal action subject to NEPA and
13
     accordingly prepared a “Programmatic Environmental Assessment for Actions to
14

15   Address an Increased Influx of Unaccompanied Alien Children and Family Units
16
     Across the Southwest Border of the United States” (“PEA”) (attached hereto as Ex.
17

18   22) together with a FONSI that was issued on August 12, 2014 (attached hereto as
19
     Ex. 23).
20

21
           56.    The PEA provides, in relevant part:

22                In addition to the influx of unaccompanied alien children,
23                there is also an increase in the number of family units
                  entering the Unites [sic] States. [DHS] is responsible for
24
                  the apprehension, processing, detention, and removal of
25                such persons crossing the southwest border into the
26
                  United States without authorization. The unprecedented
                  increase in the number of apprehended persons has the
27                potential to fill or exceed the capacity of the DHS
28                supporting infrastructure (real property for processing and

                                               61
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 1
                  housing apprehended persons, services including medical
                  care, transportation, utilities, meals, hygiene, recreation,
 2                etc.) currently available. Therefore, action is being
 3                considered at the DHS level to provide increased and
                  expedited allocation of Departmental resources in the
 4
                  following three areas:
 5

 6                      1) Provide adequate facilities for Customs and
                        Border Protection (CBP) to safely house
 7
                        unaccompanied alien children (normally for no
 8                      more than 72 hours) and family units until they can
 9
                        be transferred to the department of Health and
                        Human Services (HHS) and Immigrations [sic] and
10                      Customs Enforcement (ICE) respectively, and
11                      provide adequate facilities for ICE to safely house
                        family units;
12

13                      2) Provide transportation (land, air, water) between
14                      intake, processing, and housing facilities, as well as
                        between these facilities and physicians and dentists
15
                        [sic] offices, hospitals, consular offices, and
16                      airports or other transportations hubs, and
17
                        3) Provide medical care, including care to treat,
18
                        prevent, and minimize the spread of communicable
19                      illnesses.
20
     Ex. 22 at 1268.
21

22         57.    The PEA states that DHS’s needs for increased support infrastructure
23
     (e.g., housing and associated services, transportation, and medical care), while the
24

25   foreign nationals are in DHS’s custody will result in only “minor” and “temporary”
26
     environmental impacts. See Ex. 22 at 1283-1292. DHS’s NEPA review only
27

28   addresses the direct physical impacts resulting from DHS’s temporary custody of

                                               62
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 1
     foreign nationals. The PEA and FONSI fail to recognize that the foreign nationals

 2   comprising the “increased influx of unaccompanied alien children and family
 3
     units” subject to the June 2, 2104 action entered the United States with the intent to
 4

 5   settle in this nation. Many have indeed settled in the United States. Like the thirty-
 6
     three actions set forth supra, the PEA and FONSI issued for this action fail to
 7

 8   address the environmental impacts on the Southwest border resulting from these
 9
     foreign nationals or the population growth resulting therefrom. Moreover, DHS
10
     performed no NEPA review of indirect or cumulative impacts, or connected and
11

12   similar actions in the PEA or FONSI.
13
     Environmental Impacts Resulting from these Actions.
14

15         58.    Upon information and belief, several million foreign nationals have
16
     entered the United States and settled and will continue to enter and settle pursuant
17

18   to these thirty-three DHS actions. Unfortunately, DHS does not routinely publish
19
     comprehensive demographic data regarding the numbers of foreign nationals
20

21
     subject to and benefiting from most of these thirty-three actions. DHS’s failure to

22   provide public transparency regarding the numbers of foreign nationals subject to
23
     and benefiting from these or other such actions has disadvantaged Plaintiffs in their
24

25   quest to establish the true magnitude of impacts resulting from DHS discretionary
26
     actions. DHS’s compliance with NEPA would remedy this lack of transparency.
27

28
     Nonetheless, Plaintiffs have obtained data that paints a picture of the multitudes of

                                               63
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 1
     foreign nationals who have unlawfully crossed the Southwest border and also

 2   added to the U.S. population. In order to arrive at an estimate of foreign nationals
 3
     entering and settling in the United States, Plaintiffs’ expert, Jessica Vaughan,
 4

 5   scoured available government and academic data and reports. From available
 6
     sources, she was able to estimate, for at least a proportion of past and ongoing
 7

 8   federal actions, numbers of foreign nationals that have settled or will settle, if the
 9
     actions remain in operation, in the U.S. as a direct result. A detailed explanation of
10
     how she arrived at her numbers is available in her report “Discretionary Actions,
11

12   Past, Ongoing, and Potential that Increased or will Increase the Settled Population
13
     of the United States,” see Ex. A of Ex. 2 at 714.
14

15         59.      Below are two charts compiled by Jessica Vaughan of the population
16
     growth resulting from those past and ongoing agency actions which she found
17

18   possible to calculate. The first shows actions whose impacts to the United States
19
     population as a whole are possible to estimate. The second shows actions whose
20
     impacts to the counties in which the plaintiffs live or have lived, and whose
21

22   impacts to the state of California, are possible to calculate on publically available
23
     information.
24

25            A) Estimation of Potential Population Growth in the United States of
                      Agency Actions, on an Action by Action Basis
26
     ACTION             DATE      NUMBER CHAIN                COMMENTS
27                                ADDED  MIGRATION
                                         MULTIPLIER
28                                       (3.45)
                                                64
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     Humanitarian       1989-     176,000       607,200       These are the parolees who
 1
     Parole (1990s)     1998                                  adjusted to LPR.
 2
     Temporary          1990-     340,000                     Most recent estimate
 3   Protected Status   2014                                  available. As a result of
 4
                                                              Arrabally (see below), some
                                                              will be allowed to adjust to
 5                                                            LPR status, bringing chain
                                                              migration.
 6

 7   Parole-in-Place    1998-     No data                     Mixed in with other parolees.
                        Present
 8
     I-601A             2012      189,000-      380,000-      Without the provisional
 9   Provisional        Effective 476,000       964,000       waiver (and relaxation of
10   Waiver to 3/10     March                                 hardship standard) most
     year bar           2013                                  affected aliens would not
11                                                            apply for LPR status,
                                                              preferring to depart or stay in
12
                                                              illegal status (and would not
13                                                            be able to sponsor relatives).
     Expansion of I-    July,     100,435       280,630
                                                              See above.
14   601 Waivers        2015
     OPT 24-month       2016      360,000       1,240,000     700,000 workers + 35,000
15
     extension for                                            family w/50% stay rate =
16   STEM graduates                                           360,000

17   U and T Visas      2007      507,000       1.7 million   One-fifth are denied or
                                  new                         withdrawn. 99.8% of those
18
                                  residents                   approved resulted in
19                                added                       permanent residency.
                                  (includes
20                                kids)
     Deferred Enforced 1989       322,227                     1992 – 190,000 Salvadorans
21
     Departure                                                1989 – 80,000 Chinese
22                                                            1997 – 40,000 Haitians
                                                              1991 – 2,227 Kuwaitis
23                                                            1999 – 10,000 Liberians
24

25
     Credible Fear      2009      152,000       365,700       Assume ultimate asylum
26   Parole                       added since                 approval rate of 70%, then
                                  2010                        106,000 become LPRs
27                                                            triggering chain migration.
28

                                                65
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     Suspension of      2009      Direct:            Direct effect is due to the
 1
     Worksite Raids               30,000             decline in deportations from
 2                                Indirect:          less worksite enforcement.
                                  Unknown            Indirect effect is due to fewer
 3                                                   illegal aliens leaving on their
 4
                                                     own, as employers face no
                                                     consequences for hiring
 5                                                   them, and deterrence is
                                                     weakened.
 6

 7   USCIS Guidelines 2011        320,000            Covers the projected number
     Restricting                                     who would have been
 8   Issuance of NTAs                                ordered deported from 2012-
                                                     2016 based on denials and
 9                                                   fraud.
10

11   Dismantling of     2011-12   616,000            416,000 aliens not deported
     ICE Interior                                    since 2010 + 200,000 family
12   Enforcement                                     members who would have
     (Morton memos)                                  left + 100,000 indirect effect
13
                                                     due to less deterrence.
14
     DACA               2012      728,285            Theoretically would have
15                                granted            faced deportation (without
                                  2,000,000          certain other exec actions).
16
                                  est.               Did not have to actually
17                                eligible.          apply to avoid deportation.

18   Extension of       2013      180,000            Covers 2014-15. Allows
     Limits for H-2               potentially        aliens to stay an additional 3
19
     status                       eligible           years.
20
     Allowing VWP       2013      137,000 per        Number of annual VWP
21   Overstays to                 year               overstays.
22
     Adjust

23   PIP for Military   2013      ?             ?    No data available.
     Families
24   Parole for CNMI    2011      ?             ?    No data available.
25
     Caregivers
     DACA Extension     2014      596,000            Estimated to be eligible.
26

27

28

                                                66
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     DAPA                2014      3,605,000              Estimated to be eligible.
 1

 2
     Priority            2014      10,000,000             The estimated number of
 3   Enforcement                                          deportable aliens exempt
 4   Program (PEP)                                        from deportation due to strict
                                                          prioritization.
 5
     Detainer            2014      81,000 +               Decrease in the number of
 6   Guidance (post-               15,000                 detainers issued from 2014-
 7   conviction                    Family:                16 + family members not
     criminal aliens,              40,000                 departing + sanctuary
 8   allows                                               releases.
     sanctuaries)
 9
     Arabally Decision   2014      22,340 as    77,000    No data available.
10   – Advance Parole              of                     Potentially big.
     Path to                       December,
11   Adjustment                    2015
12
     Expansion of PIP    2014      ?            ?
                                                          No data available.
13   for Military
     Reserves
14

15
     Loosening of L-1    2016      6,000 per    41,000    Most L-1 visas lead to LPR
     Standards –                   year                   status.
16   Specialized                   6,000
     Knowledge                     family
17

18

19
     Central American    2014      465,000      192,500   315,000 eligible parents
     Refugee Program                                      (protected from removal)
20                                                        150,000 potential sponsored
                                                          kids
21                                                        12% of kids have been
22                                                        admitted of refugees w/path
                                                          to LPR (together w/ parents
23                                                        = 55,800).
24
     Haitian Family                                       Accelerates arrival, but not
                         2014      6,000/yr
25   Reunification                                        LPR status.
     Program
26

27   International       August,   6,000                  2,940 estimated principal
     Entrepreneurs       2016                             aliens + 3,000 family
28
                                                          members.
                                                67
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 1

 2        B) Estimation of Potential Population Growth in Counties of Interest to
                          Plaintiffs, on an Action by Action Basis
 3   Number of Individuals Potentially Remaining in the Settled
 4   Population Due to Certain Executive Actions: Counties and
     California
 5

 6   Place              DACA      DAPA     Detainer     H-2A &    Enforcement
 7                                                      H-2B      Priorities
 8
     Larimer County,    NA        NA       84           61        NA
 9
     CO
10

11
     Denver County,     9,000     15,170   324          15        35,670
12
     CO
13

14   San Diego          38,000    70,380   456          669       180,090
15   County, CA
16

17   Alameda            17,000    31,500   624          0         91,350

18   County, CA

19
     Los Angeles        180,00    339,20   3,636        3         922,200
20
     County, CA         0         0
21

22
     Santa Barbara      9,000     15,050   588          1,362     37,410
23
     County, CA
24

25   Broward County, 14,000       17,640   312          488       73,080

26   FL
27
     Palm Beach         12,000    14,740   216          2,293     58,290
28

                                                   68
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 1   County, FL
 2
     Martin County,     NA       NA       108         58       NA
 3
     FL
 4

 5
     California         561,00   1,026,   NA          11,582   2,626,530
 6
                        0        460
 7

 8   NA is Not
 9   Available
10   Source             MPI      MPI      TRAC        DOL      MPI
11

12   Source Details:

13   MPI - Migration Policy Institute Data Hub - DACA Data

14   Tools and Unauthorized Immigrant Population Profiles

15   TRAC - Syracuse University Transactional Records

16   Clearinghouse - ICE Detainer Database

17   DOL - Dept. of Labor Foreign Labor

18   Certification Data Center

19

20
           60.    These and other DHS Federal actions, which administer immigration
21

22
     and border control, have a significant effect on the size and growth of the

23   population of the United States. Population growth itself is a significant
24
     environmental impact, as particularly noted by Congress in NEPA, and also as set
25

26   forth in Dr. Cafaro’s report, “The Environmental Impact of Immigration into the
27
     United States.” See Ex. 4. As noted by Dr. Cafaro, population growth is a key
28

                                                 69
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 1
     factor in determining a wide variety of environmental impacts. Id. For example,

 2   immigration-driven population growth leads to urban sprawl and farmland loss,
 3
     habitat and biodiversity loss, an increase in worldwide levels of greenhouse gas
 4

 5   emissions, and an increase of water demands and water withdrawals from natural
 6
     systems. See Ex. 4 at 779.
 7

 8         61.    Surveying the “purposes and needs” sections of several recent federal
 9
     and state agency EISs, Dr. Cafaro explains how new, environmentally harmful
10

11
     projects are continually created around the country to accommodate immigration-

12   driven population growth. See Ex. 4 at 794. These recent EISs cite anticipated or
13
     planned population growth as creating the need for a myriad of environmentally
14

15   harmful new infrastructure, e.g. transit projects, including the creation of light rail
16
     systems, new airports, projects for road-widening and road construction, energy
17

18   projects, such as coal and natural gas development, new power plants, and
19
     pipelines; as well as water supply projects, such as new dams and reservoirs. See
20
     Ex. 4 at 794-799. There are also many other kinds of developments such as new
21

22   schools and housing projects, that, not generally located on federal land, are rarely
23
     mentioned by EISs, but which nevertheless, are only needed because of population
24

25   growth. See Ex. 4 at 801.
26
           62.    Population growth is responsible for one of the leading environmental
27

28   problems across the U.S.: urban sprawl, that is, new development on the fringes of

                                                70
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 1
     existing urban and suburban areas. See Ex. 4 at 802. Sprawl increases overall

 2   energy and water consumption, air and water pollution, and decreases open space
 3
     and natural wildlife habitat, which endangers the survival of many species. Id.
 4

 5   From 1982 to 2010, a period of massive immigration, 41.4 million acres of
 6
     previously undeveloped urban land was built on to accommodate the U.S.’s
 7

 8   growing cities and towns--an area approximately equivalent to the state of Florida.
 9
     Id.
10

11
           63.    The future loss of the undeveloped land remaining in the United

12   States, due to unrelenting population growth, produces significant environmental
13
     consequences. The ongoing loss of such open spaces, habitats, and wilderness to
14

15   unrelenting population growth is a source of anguish to those who love the
16
     wilderness, including many of the instant Plaintiffs. The current President of the
17

18   United States recently acknowledged this great environmental loss in his speech
19
     marking the designation and preservation from development of the
20
     Papahānaumokuākea Marine National Monument in Hawaii last month. President
21

22   Obama stated, “I look forward to knowing that 20 years from now, 40 years from
23
     now, 100 years from now, this is a place where people can still come to and see
24

25   what a place like this looks like when it’s not overcrowded or destroyed by human
26
     populations.” White House Press Release, Remarks by the President at the
27

28
     Designation of the Papahānaumokuākea Marine National Monument, The White

                                              71
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 1
     House: Office of Press Secretary (September 1, 2016),

 2   https://www.whitehouse.gov/the-press-office/2016/09/01/remarks-president-
 3
     designation-papahanaumokuakea-marine-national-monument.
 4

 5         64.    Population growth also threatens to accelerate biodiversity loss and
 6
     the extinction of animal and plant species. See Ex. 4 at 820. The United Nations’
 7

 8   Secretariat of the Convention on Biological Diversity estimates that humanity may
 9
     be causing the extinction of one out of every three species on Earth in the next one
10

11
     to two hundred years. Id. Conservation biologists agree that the most important

12   “direct drivers” of biodiversity loss are: habitat loss, the impacts of alien species,
13
     over-exploitation, pollution, and global climate change. Id. at 821. All five are
14

15   caused by increased human population and the increased human activities
16
     associated with human population growth. Id.
17

18         65.    The carbon dioxide (“CO2”) emissions produced in the United States
19
     also are increasing because of immigration-driven population growth. Furthermore,
20

21
     those foreign nationals that settle in the United States produce an estimated four

22   times more CO2 in the United States than they would have in their countries of
23
     origin. The estimated 637 tons of CO2 produced annually by U.S. immigrants is
24

25   482 million tons more than they would have produced had they remained in their
26

27

28

                                                72
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 1
     home countries.7 The impact of immigration to the United States on global

 2   emissions is equal to approximately 5 percent of the increase in annual world-wide
 3
     CO2 emissions since 1980. That is 5 percent of total global CO2 emissions, not 5
 4

 5   percent of U.S. emissions. These numbers do not even include the CO2 impacts of
 6
     children born to United States immigrants. See Ex. 4. at 846.
 7

 8         66.    Because a greater population uses more water, population growth also
 9
     results in a higher aggregate water use, putting increased pressure on water
10

11
     systems, including rivers and underground aquifers. Water taken for human

12   consumption is necessarily removed from an ecosystem, leading to a host of
13
     environmental impacts. Id. at 854-865. “When too much water is taken from these
14

15   ecosystems for consumptive use by human beings, there may not be enough water
16
     left behind to perform these critical ecosystem services and functions.” Id. at 857.
17

18         67.    The environmental impacts resulting from population-based demands
19
     for water are most vividly illustrated in the state of California. The nation’s most
20

21
     populous state also tops the nation in terms of water withdrawal. California has

22   also been experiencing a severe, multi-year drought. Governor Jerry Brown has
23
     declared statewide mandatory water restrictions for the first time in California’s
24

25
      7
26
       Reducing CO2 has been a focal point of the Obama administration’s
      environmental initiatives. See Memorandum from Christina Goldfuss, Executive
27    Office of the President: Council on Environmental Quality (Aug. 1, 2016),
28    https://www.whitehouse.gov/sites/whitehouse.gov/files/documents/nepa_final_g
      hg_guidance.pdf.
                                               73
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 1
     history, ordering towns and cities to reduce their water use by 25 percent. Id. at

 2   866-872. This drought has led the state to overdraft its underground aquifers, with
 3
     potentially devastating environmental consequences. Id. at 867-868. Water quality
 4

 5   is also an issue. Numerous human activities can also cause water pollution. For
 6
     instance, the introduction of excess nitrogen and phosphorus fertilizers into
 7

 8   streams, rivers, and lakes encourage explosive growth of “algal blooms,”
 9
     ultimately leading to eutrophication and the destruction of these ecosystems and
10
     those species that inhabit them. Id. at 859.
11

12         68.    DHS’s administration of the nation’s immigration system, including
13
     these specific discretionary actions, as detailed by Dr. Cafaro, increases the United
14

15   States’ population and thereby causes significant environmental impacts. Yet DHS
16
     has never acknowledged these impacts as NEPA requires.
17

18         69.    DHS’s administration of the nation’s immigration system, specifically
19
     its administration of its immigration enforcement system, has also produced
20

21
     significant environmental impacts on the Southwest border. Of the specific actions

22   under challenge in this case and listed supra in paragraphs 53, those that have had
23
     an effect on border crossings include: Action 2; Action 7; Actions 10-13; Actions
24

25   15-19; Actions 21-27; and Action 33. Upon information and belief, these actions,
26
     together with other enforcement actions presently unknown to Plaintiffs and the
27

28
     general public, have led to and exacerbated environmental degradation along the

                                               74
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 1
     Southwest border.

 2
           70.    The massive numbers of people illegally crossing the Southwest
 3
     border have left a host of environmental impacts in their wake, such as the
 4

 5   destruction of native and at risks species and habitats by trampling over the native
 6
     vegetation; garbage dumping on a massive scale; water pollution; and setting fires,
 7

 8   many of which turn out of control, for the purposes of heat, cooking, or to distract
 9
     Border Patrol agents. These and other environmental degradations are detailed in
10

11
     the affidavits of Fred Davis, Peggy Davis, Caren Cowen, John Ladd, and Ralph

12   Pope. See Ex. 6, Ex. 7, Ex. 16, Ex. 17, and Ex. 19. The scale, location, and form of
13
     such environmental impacts necessarily depend on a number of factors, including,
14

15   but not limited to, the number of individuals illegally crossing, where they choose
16
     to cross, and to some degree, what their goals are for crossing (for example, drug-
17

18   running versus finding work in the interior). Though DHS enforcement policies are
19
     not the sole factor in all of these components of the illegal border-crossing
20
     phenomenon, there is no doubt DHS policies significantly affect each one.
21

22         71.    As stated by Plaintiffs’ expert Jessica Vaughan in “Analysis of
23
     Discretionary Agency Actions That Resulted in Cumulatively Significant
24

25   Environmental Impacts on the Southwest Border” (see Ex. B of Ex. 2 at 749),
26
     “[h]istorical experience demonstrates that a real or even perceived change in
27

28
     enforcement policies, both at the border and in the interior, can significantly affect

                                               75
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 1
     the number of people attempting to cross the border illegally.” Ex. 2 at 750. Indeed,

 2   a Border Patrol intelligence report from 2014 based on interviews with migrants
 3
     reveals that 95% stated that their “main reason” for coming was because they had
 4

 5   heard they would receive a “permiso,” or, permission to stay. Id. at 751-752. The
 6
     credible fear directive (Action 2, in ¶ 53 supra) in particular, quite clearly had a
 7

 8   role in developing this belief, though other actions also played a role. For further
 9
     explanation and analysis of DHS enforcement policy in general and how the
10
     agency’s specific actions, supra, have encouraged and exacerbated the
11

12   phenomenon of mass illegal crossing along the Southwest border, see Ex. B of Ex.
13
     2.
14

15
                                    CAUSES OF ACTION
16

17                                        COUNT I
18
        The DHS Instruction Manual Violates the APA and NEPA by Failing to
19    Require NEPA Compliance with Respect to its Actions Relating to the Entry
20            and Settlement of Foreign Nationals into the United States.
21
           72.    Plaintiffs reallege paragraphs 1-71 as if fully set forth herein.
22

23         73.    CEQ regulations require each federal agency to adopt internal NEPA
24
     procedures to ensure NEPA compliance. 40 C.F.R. § 1507.3. Agency NEPA
25

26   procedures shall comply with CEQ regulations. 40 C.F.R. § 1507.1. Further, such
27
     agency NEPA procedures shall include “specific criteria for an identification of
28

                                                76
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 1
     those typical classes of action” which either do require an Environmental Impact

 2   Statement, do typically require an EA but not an EIS, or are categorically
 3
     excluded. 40 C.F.R. § 1507.3(b)(2).
 4

 5         74.    The entry and settlement of foreign nationals into the United States is
 6
     a major component of DHS’s statutory mission, comprising “principle programs”
 7

 8   pursuant to 40 C.F.R. § 1505.1(b) and “typical classes of action” pursuant to 40
 9
     C.F.R. § 1507.3(b)(2).
10

11         75.    The entry and settlement of foreign nationals in the United States has
12
     impacts on the human environment.
13

14         76.    The DHS Instruction Manual fails to address the class of actions
15
     concerning the entry and settlement of foreign nationals into the United States.
16

17         77.    DHS’s failure to address these “typical classes of actions” and/or
18
     “principle programs” in its Instruction Manual violates the CEQ NEPA regulations
19

20
     40 C.F.R §§ 1500-1508.

21
           78.    The failure of DHS to incorporate NEPA compliance into its
22

23
     Instruction Manual regarding those actions relating to the entry and settlement of

24   foreign nationals in the United States violates NEPA and the CEQ regulations, and
25
     accordingly is arbitrary, capricious, an abuse of discretion and otherwise contrary
26

27   to law, in violation of the APA.
28
                                         COUNT II
                                              77
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 1
     DHS is Violating the APA and NEPA by Failing to Initiate NEPA review with
 2
       respect to Thirty-Three Actions Relating to the Entry and Settlement of
 3                     Foreign Nationals into the United States.
 4
           79.    Plaintiffs reallege paragraphs 1-78 as if fully set forth herein.
 5

 6         80.    The thirty-three actions set forth in ¶ 53 are federal actions subject to
 7
     NEPA.
 8

 9         81.    DHS violated and continues to violate NEPA and the APA by failing
10
     to initiate NEPA compliance with respect to those thirty-three DHS actions set
11

12
     forth in ¶ 53.

13         82.    DHS’s decision to proceed without initiating any NEPA compliance
14
     for these actions by preparing an EA for each action violates NEPA and the CEQ
15

16   regulations, and accordingly is arbitrary, capricious, an abuse of discretion and
17
     otherwise contrary to law, in violation of the APA.
18

19                                        COUNT III
20
      DHS is Violating the APA and NEPA by Failing to prepare a Programmatic
21    EIS for its actions relating to the Entry and Settlement of Foreign Nationals
22                                 into the United States.
23
           83.    Plaintiffs reallege paragraphs 1-82 as if fully set forth herein.
24

25         84.    CEQ regulations provide that agency actions that are “related to each
26
     other closely enough to be, in effect, a single course of action shall be evaluated in
27

28   a single impact statement.” 40 C.F.R. § 1502.4(a). In such actions an EIS:
                                               78
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 1
                  may be prepared, and are sometimes required, for
                  broad federal actions such as the adoption of new
 2                agency programs or regulations. (§1508.18). Agencies
 3                shall prepare statements on broad actions so that they
                  are relevant to policy and are timed to coincide with
 4
                  meaningful points in agency planning and decision
 5                making.
 6
     40 C.F.R. § 1502.4(b). Such actions “have relevant similarities, such as common
 7

 8   timing, impacts, alternatives, methods of implementation, media, or subject
 9
     matter.” 40 C.F.R. § 1502.4(c)(2).
10

11         85.    The thirty-three actions set forth in ¶ 53 are federal actions subject to
12
     NEPA.
13

14         86.    The thirty-three actions set forth in ¶ 53 have “relevant similarities”
15
     and a common “subject matter” in that they concern the entry and settlement of
16

17   foreign nationals into the United States. Further, these actions have
18   “common...impacts” (40 C.F.R. § 1502.4(c)(2)) under NEPA including, but not
19
     limited to, those population and border impacts including, but not limited to, those
20

21   population and border impacts described in Plaintiffs’ affidavits (Ex. 6-19) and
22
     summarized in ¶¶ 26-42, as well as the expert report written by Steven Camarota,
23

24   Ph.D. (Ex. 3), Phil Cafaro, Ph.D. (Ex. 4), and Jessica Vaughan (Ex. 2).
25
           87.    Because the thirty-three actions set forth in ¶ 53 address a common
26

27   subject matter, “relevant similarities” and common impacts they are “related to
28

                                               79
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 1
     each other closely enough to be, in effect a single course of action” subject to the

 2   preparation of a Programmatic EIS. 40 C.F.R. § 1502.4(a)(2).
 3

 4
           88.    DHS’s failure to prepare a programmatic EIS for its thirty-three

 5   actions relating to entry and settlement of foreign nationals into the United States
 6
     violates NEPA and the CEQ regulations and accordingly is arbitrary, capricious,
 7

 8   an abuse of discretion and otherwise contrary to law, in violation of the APA.
 9
                                          COUNT IV
10

11   The Categorical Exclusion Issued by DHS on August 12, 2014 Violates NEPA
                                    and the APA.
12

13
           89.    Plaintiff realleges paragraphs 1-88 as if fully set forth herein.
14

15         90.    DHS’s OPT Rule is a federal action subject to NEPA. 40 C.F.R. §
16
     1508.18.
17

18
           91.    In issuing the OPT Rule, DHS stated:

19                This rule clearly fits within the Categorical Exclusion
20                found in MD 023–01 Rev. 01, Appendix A, Table 1,
                  number A3(a):
21
                  ‘‘Promulgation of rules . . . of a strictly administrative or
22                procedural nature;’’ and A3(d): ‘‘Promulgation of rules...
23                that interpret or amend an existing regulation without
                  changing its environmental effect.’’ This rule is not
24
                  part of a larger action. This rule presents no extraordinary
25                circumstances creating the potential for significant
26
                  environmental effects. Therefore, this rule is
                  categorically excluded from further NEPA review.
27

28   Ex. 1 at 611-613.
                                               80
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 1
           92.    NEPA requires federal agencies to take a “hard look” at the

 2   environmental impacts of their proposed actions. 42 U.S.C. § 4332(c).
 3
           93.    The OPT Rule poses potentially significant environmental impacts,
 4

 5   including but not limited to population growth, particularly California, and all the
 6
     impacts that population growth induces, as examined in ¶¶ 60-67, supra.
 7

 8         94.    NEPA analysis requires the examination of “indirect effects” which
 9
     includes “population density or growth rate, and related effects on air and water
10

11   and other natural systems, including ecosystems.” 40 C.F.R § 1508.8(b).
12
           95.    DHS failed to prepare an EIS documenting the action’s adverse
13
     environmental impacts or an EA measuring the potential significance of such
14

15   impacts.
16
           96.    DHS unlawfully excluded this action from NEPA without taking a
17

18   “hard look” at the action’s environmental impacts.
19
           97.    DHS’s Categorical Exclusion for the OPT Rule is not supported by
20

21   substantial evidence in the Administrative Record.
22
           98.    DHS’s improper use of the Categorical Exclusion is contrary to NEPA
23

24   and is accordingly arbitrary, capricious, an abuse of discretion and otherwise
25   contrary to law, in violation of the APA.
26

27
                                          COUNT V
28

                                                 81
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 1
      Failure to Take a “Hard Look” at the Environmental Impacts of the June 2,
      2014 Action “Response to the Influx of Unaccompanied Alien Children” in
 2                         Violation of NEPA and the APA
 3

 4         100. Plaintiffs reallege paragraphs 1-99 as if fully set forth herein.
 5
           101. NEPA requires federal agencies to take a “hard look” at the
 6

 7   environmental impacts of their proposed actions, and to prepare an EIS if the
 8
     adverse environmental impacts of a proposed federal action are potentially
 9

10
     significant. 42 U.S.C. § 4332(c).

11
           102. In preparing the EA for the June 2, 2014 “Response to the Influx of
12
     Unaccompanied Alien Children [,]” DHS failed to adequately consider the direct,
13

14   indirect and cumulative impacts of the action upon the human environment, all in
15
     violation of 40 C.F.R. § 1508.9. These include, but are not limited to, those
16

17   population and border impacts described in Plaintiffs’ affidavits (Ex. 6-19) and
18
     summarized in ¶¶ 26-42, as well as the expert reports written by Steven Camarota,
19

20
     Ph.D. (Ex. 3), Phil Cafaro, Ph.D. (Ex. 4), and Jessica Vaughan (Ex. 2).

21
           103. DHS’s reliance upon an inadequate and incomplete EA, without full
22

23
     compliance with NEPA constitutes a violation of Section 102(2)(C) of NEPA, 42

24   U.S.C. § 4332(2)(c), as well as the implementing CEQ regulations set forth at 40
25
     C.F.R. § 1500 et seq., is unreasonable, arbitrary, an abuse of discretion and not in
26

27   accordance with law under the APA.
28

                                               82
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 1
                                   PRAYER FOR RELIEF
 2
           WHEREFORE, in light of the foregoing, Plaintiffs respectfully request
 3

 4
     that this Court grant the following relief:

 5
           1)     Enter a declaratory judgment that the failure of DHS to incorporate
 6
     NEPA compliance into its Instruction Manual regarding those of its actions
 7

 8   relating to the entry and settlement of foreign nationals in the United States
 9
     violates NEPA and the APA; and
10

11         2)     Enter a declaratory judgment that DHS has violated NEPA and the
12
     APA with respect to those thirty-three federal actions set forth in ¶ 53 for failing to
13

14   initiate NEPA compliance; and
15
           3)     Enter a declaratory judgment that DHS has violated NEPA and the
16

17   APA by failing to prepare a Programmatic EIS for its actions relating to entry and
18
     settlement of foreign nationals into the United States; and
19

20
           4)     Enter a declaratory judgment that the Categorical Exclusion issued by

21   DHS on March 11, 2016 for its Final Rule entitled, “Improving and Expanding
22
     Training Opportunities for F-1 Nonimmigrant Students with STEM Degrees and
23

24   Cap-Gap Relief for All Eligible F-1 Students,” 8 C.F.R. 214 and 274(a), violates
25
     NEPA and the APA; and
26

27

28

                                                   83
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 1
           5)     Enter a declaratory judgment that the EA and FONSI issued for the

 2   June 2, 2014 Action “Response to the Influx of Unaccompanied Alien Children”
 3
     violates NEPA and the APA; and
 4

 5         6)     Enter an order requiring DHS to amend its Instruction Manual to fully
 6
     comply with NEPA with respect to those federal actions relating to entry and
 7

 8   settlement of foreign nationals into the United States; and
 9
           7)     Enter an order requiring DHS to fully comply with NEPA with
10

11   respect to those thirty-three federal actions set forth in this complaint; and
12
           8)     Enter an order requiring DHS to fully comply with NEPA and prepare
13

14   a Programmatic EIS with respect to the thirty-three federal actions set forth in this
15
     complaint and all of its federal actions relating to the entry and settlement of
16

17
     foreign nationals into the United States; and

18
           9)     Set aside the Categorical Exclusion issued by DHS for its Final Rule
19
     entitled, “Improving and Expanding Training Opportunities for F-1 Nonimmigrant
20

21   Students with STEM Degrees and Cap-Gap Relief for All Eligible F-1 Students”
22
     and remand to DHS for compliance with NEPA; and
23

24         10)    Set aside the EA and FONSI issued by DHS for the June 2, 2014
25
     Action “Response to the Influx of Unaccompanied Alien Children” and remand to
26

27   DHS for compliance with NEPA; and
28

                                                84
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 1
           11)    Award Plaintiff reasonable attorney fees, costs and expenses incurred

 2   in pursuing this action to the extent permitted by law; and
 3

 4
           12)    Provide such other relief as this Court deems just and proper.

 5

 6

 7         Dated: October 17, 2016
 8
           Respectfully submitted,
 9

10          s/ Julie B. Axelrod
11
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27
           *Pro Hac Vice application forthcoming
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